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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA




 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES


                  Plaintiff–Counterdefendant,          Case No. 19-cv-01974-TNM

                           v.


 UNITED STATES DEPARTMENT OF THE
 TREASURY, ET AL.,


                  Defendants–Crossdefendants,


 DONALD J. TRUMP, ET AL.,

                  Intervenors–
                  Counterclaimants–
                  Crossclaimants.


                          NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiff–Counterdefendant Committee on Ways and Means of the United States House

of Representatives (“Committee”) respectfully notifies this Court of the recent opinion by the

D.C. Circuit in Trump v. Thompson, et al., No. 21-5254, which supports the Committee’s

arguments in this case.

       In Thompson, the D.C. Circuit rejected former President Trump’s effort to block the

Archivist from complying with a request by the House Select Committee to Investigate the

January 6th Attack on the United States Capitol (“Select Committee”) seeking certain records

from the National Archives and Records Administration pursuant to the Presidential Records
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Act. Invoking Trump v. Mazars USA, LLP, 140 S. Ct. 2019 (2020), Mr. Trump argued that

disclosure of the requested records would violate the separation of powers. The D.C. Circuit

disagreed, expressing “significant doubt” that the Mazars test was appropriate in the context of a

former President’s challenge “to the joint decision of an incumbent President and the Legislative

Branch that disclosure is warranted.” Slip Op. at 52. The Mazars test, the Court reasoned, is

“expressly tied to ‘special concerns regarding the separation of powers’ that arise when the

‘legislative interests of Congress’ clash with the ‘unique position of the President.’” Id. (quoting

Mazars, 140 S. Ct. at 2035-2036). Such “concerns necessarily have less traction,” the Court

concluded, “when the request is for records from a former administration, since the objecting

former President no longer occupies the ‘unique position of the President,’” id. at 53 (quoting

Mazars, 140 S. Ct. at 2035), and “when the Political Branches are in agreement.” Id. In such

circumstances, “Nixon v. GSA would seem to be more closely on point, because it specifically

involved a former President’s objection, over the contrary positions of the incumbent President

and Congress, to the Executive Branch taking possession of and reviewing his presidential

record.” Id.

       The D.C. Circuit also rejected Mr. Trump’s contention that the Select Committee’s

request is motivated by an improper law-enforcement purpose. Slip Op. at 54. Because the

Select Committee’s “announced purpose” is squarely within Congress’s legislative powers, the

Court held that the request is not impermissibly prosecutorial. Id. at 54-55. The Court

emphasized that “[t]he mere prospect that misconduct might be exposed does not make the

Committee’s request prosecutorial.” Id. Rather, “[m]issteps and misbehavior are common

fodder for legislation.” Id.




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December 14, 2021                             Respectfully submitted,

                                              /s/ Douglas N. Letter
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                                          3
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 14, 2021, I filed this document with the Court via ECF,

which will electronically notify all counsel of record.


                                              /s/ Douglas N. Letter
                                              Douglas N. Letter
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               Exhibit A
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              United States Court of Appeals
                       FOR THE DISTRICT OF COLUMBIA CIRCUIT



             Argued November 30, 2021            Decided December 9, 2021

                                      No. 21-5254

              DONALD J. TRUMP, IN HIS CAPACITY AS THE 45TH PRESIDENT
                             OF THE UNITED STATES,
                                    APPELLANT

                                            v.

                BENNIE G. THOMPSON, IN HIS OFFICIAL CAPACITY AS
                 CHAIRMAN OF THE UNITED STATES HOUSE SELECT
              COMMITTEE TO INVESTIGATE THE JANUARY 6TH ATTACK ON
                      THE UNITED STATES CAPITOL, ET AL.,
                                   APPELLEES


                      Appeal from the United States District Court
                              for the District of Columbia
                                  (No. 1:21-cv-02769)


                     Jesse R. Binnall and Justin R. Clark argued the cause
             and filed the briefs for appellant.

                     Douglas N. Letter, General Counsel, U.S. House of
             Representatives, argued the cause for appellees Bennie
             Thompson and the United States House Select Committee to
             Investigate the January 6th Attack on the United States Capitol.
             With him on the brief were Todd B. Tatelman, Principal Deputy
             General Counsel, Stacie M. Fahsel, Associate General
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                                          2
             Counsel, Eric R. Columbus, Special Litigation Counsel, and
             Annie L. Owens, Mary B. McCord, and Joseph W. Mead,
             Institute for Constitutional Advocacy and Protection,
             Georgetown University Law Center.

                     Brian M. Boynton, Acting Assistant Attorney General,
             U.S. Department of Justice, argued the cause for appellee
             National Archives and Records Administration. With him on
             the brief were Michael S. Raab and Gerard Sinzdak, Attorneys.
             Mark R. Freeman, Sarah E. Harrington, and Elizabeth J.
             Shapiro, Attorneys, entered appearances.

                     Elizabeth B. Wydra and Brianne J. Gorod were on the
             brief for amici curiae Former Department of Justice Officials
             in support of appellees.

                    Norman L. Eisen was on the brief for amici curiae
             States United Democracy Center and Former Federal, State,
             and Local Officials in support of appellees.

                    Nikhel S. Sus and Conor M. Shaw were on the brief for
             amici curiae Citizens for Responsibility and Ethics in
             Washington and Former White House Attorneys in support of
             appellees.

                     John A. Freedman, Samuel F. Callahan, and Cameron
             Kistler were on the brief for amici curiae Former Members of
             Congress in support of appellees.

                    Kelly B. McClanahan was on the brief for amici curiae
             Government Accountability Project, et al. in support of
             appellees.

                    Before: MILLETT, WILKINS, and JACKSON, Circuit
             Judges.
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                                             3

                 Opinion for the Court filed by Circuit Judge MILLETT.

                  MILLETT, Circuit Judge: On January 6, 2021, a mob
             professing support for then-President Trump violently attacked
             the United States Capitol in an effort to prevent a Joint Session
             of Congress from certifying the electoral college votes
             designating Joseph R. Biden the 46th President of the United
             States. The rampage left multiple people dead, injured more
             than 140 people, and inflicted millions of dollars in damage to
             the Capitol.1 Then-Vice President Pence, Senators, and
             Representatives were all forced to halt their constitutional
             duties and flee the House and Senate chambers for safety.

                  The House of Representatives subsequently established
             the Select Committee to Investigate the January 6th Attack on
             the United States Capitol, and charged it with investigating and
             reporting on the “facts, circumstances, and causes relating to”
             the January 6th attack on the Capitol, and its “interference with
             the peaceful transfer of power[.]” H.R. Res. 503, 117th Cong.
             § 3(1) (2021). The House Resolution also tasked the January
             6th Committee with, among other things, making “legislative
             recommendations” and proposing “changes in law, policy,
             procedures, rules, or regulations” both to prevent future acts of

                 1
                     STAFF REP. OF S. COMM. ON HOMELAND SECURITY &
             GOVERNMENTAL AFFS. & S. COMM. ON RULES & ADMIN., 117TH
             CONG., EXAMINING THE U.S. CAPITOL ATTACK: A REVIEW OF THE
             SECURITY, PLANNING, AND RESPONSE FAILURES ON JANUARY 6, at
             29 (June 8, 2021) (“Capitol Attack Senate Report”); Hearing on
             Health and Wellness of Employees and State of Damages and
             Preservation as a Result of January 6, 2021 Before the Subcomm. on
             the Legis. Branch of the H. Comm. on Appropriations (“House
             Hearing”), 117th Cong., at 1:25:40–1:26:36 (Feb. 24, 2021)
             (statement of J. Brett Blanton, Architect of the Capitol),
             https://perma.cc/XS7N-MRG8.
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             such violence and to “improve the security posture of the
             United States Capitol Complex[.]” Id. § 4(b)(1), (c)(2).

                  As relevant here, the January 6th Committee sent a request
             to the Archivist of the United States under the Presidential
             Records Act, 44 U.S.C. § 2205(2)(C), seeking the expeditious
             disclosure of presidential records pertaining to the events of
             January 6th, the former President’s claims of election fraud in
             the 2020 presidential election, and other related documents.

                  This preliminary injunction appeal involves only a subset
             of those requested documents over which former President
             Trump has claimed executive privilege, but for which President
             Biden has expressly determined that asserting a claim of
             executive privilege to withhold the documents from the
             January 6th Committee is not warranted. More specifically,
             applying regulations adopted by the Trump Administration,
             President Biden concluded that a claim of executive privilege
             as to the specific documents at issue here is “not in the best
             interests of the United States,” given the “unique and
             extraordinary circumstances” giving rise to the Committee’s
             request, and Congress’s “compelling need” to investigate “an
             unprecedented effort to obstruct the peaceful transfer of power”
             and “the most serious attack on the operations of the Federal
             Government since the Civil War.” Letter from Dana A.
             Remus, Counsel to the President, to David Ferriero, Archivist
             of the United States (Oct. 8, 2021), J.A. 107–108 (“First Remus
             Ltr.”); see also Letter from Dana A. Remus, Counsel to the
             President, to David Ferriero, Archivist of the United States
             (Oct. 8, 2021), J.A. 113 (“Second Remus Ltr.”); Letter from
             Dana A. Remus, Counsel to the President, to David Ferriero,
             Archivist of the United States (Oct. 25, 2021), J.A. 173–174
             (“Third Remus Ltr.”).
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                 The central question in this case is whether, despite the
             exceptional and imperative circumstances underlying the
             Committee’s request and President Biden’s decision, a federal
             court can, at the former President’s behest, override President
             Biden’s decision not to invoke privilege and prevent his release
             to Congress of documents in his possession that he deems to be
             needed for a critical legislative inquiry.

                  On the record before us, former President Trump has
             provided no basis for this court to override President Biden’s
             judgment and the agreement and accommodations worked out
             between the Political Branches over these documents. Both
             Branches agree that there is a unique legislative need for these
             documents and that they are directly relevant to the
             Committee’s inquiry into an attack on the Legislative Branch
             and its constitutional role in the peaceful transfer of power.

                  More specifically, the former President has failed to
             establish a likelihood of success given (1) President Biden’s
             carefully reasoned and cabined determination that a claim of
             executive privilege is not in the interests of the United States;
             (2) Congress’s uniquely vital interest in studying the January
             6th attack on itself to formulate remedial legislation and to
             safeguard its constitutional and legislative operations; (3) the
             demonstrated relevance of the documents at issue to the
             congressional inquiry; (4) the absence of any identified
             alternative source for the information; and (5) Mr. Trump’s
             failure even to allege, let alone demonstrate, any particularized
             harm that would arise from disclosure, any distinct and
             superseding interest in confidentiality attached to these
             particular documents, lack of relevance, or any other reasoned
             justification for withholding the documents. Former President
             Trump likewise has failed to establish irreparable harm, and the
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             balance of interests and equities weigh decisively in favor of
             disclosure.2

                  For those reasons, we affirm the district court’s judgment
             denying a preliminary injunction as to those documents in the
             Archivist’s first three tranches over which President Biden has
             determined that a claim of executive privilege is not justified.

                                              I

                                              A

                  On November 3, 2020, Americans elected Joseph Biden
             as President, giving him 306 electoral college votes. Then-
             President Trump, though, refused to concede, claiming that the
             election was “rigged” and characterized by “tremendous voter
             fraud and irregularities[.]” President Donald J. Trump,
             Statement on 2020 Election Results at 0:34–0:46, 18:11–18:15,
             C-SPAN (Dec. 2, 2020), https://www.c-span.org/video
             /?506975-1/president-trump-statement-2020-election-results
             (last accessed Dec. 7, 2021). Over the next several weeks,
             President Trump and his allies filed a series of lawsuits
             challenging the results of the election. Current Litigation,
             ABA: STANDING COMM. ON ELECTION LAW (April 30, 2021),
             https://perma.cc/9CRN-2464. The courts rejected every one of
             the substantive claims of voter fraud that was raised. See, e.g.,
             Donald J. Trump for President, Inc. v. Secretary of
             Pennsylvania, 830 F. App’x 377, 381 (3d Cir. 2020)
             (“[C]alling an election unfair does not make it so. Charges


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                   Given former President Trump’s failure to meet his burden,
             we need not decide to what extent a court could, after a sufficient
             showing of congressional need, second guess a sitting President’s
             judgment that invoking privilege is not in the best interests of the
             United States.
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             require specific allegations and then proof. We have neither
             here.”).

                   As required by the Twelfth Amendment to the
             Constitution and the Electoral Count Act, 3 U.S.C. § 15, a Joint
             Session of Congress convened on January 6, 2021 to certify the
             results of the election. 167 CONG. REC. H75–H85 (daily ed.
             Jan. 6, 2021). In anticipation of that event, President Trump
             had sent out a Tweet encouraging his followers to gather for a
             “[b]ig protest in D.C. on January 6th” and to “[b]e there, will
             be wild!” Donald Trump (@realDonaldTrump), TWITTER
             (Dec. 19, 2020, 1:42 AM) (“Statistically impossible to have
             lost the 2020 Election.”).

                  Shortly before noon on January 6th, President Trump took
             the stage at a rally of his supporters on the Ellipse, just south
             of the White House. J.A. 180. During his more than hour-long
             speech, President Trump reiterated his claims that the election
             was “rigged” and “stolen,” and urged then-Vice President
             Pence, who would preside over the certification, to “do the
             right thing” by rejecting various States’ electoral votes and
             refusing to certify the election in favor of Mr. Biden. See
             Donald J. Trump, Rally on Electoral College Vote Certification
             at 3:33:05–3:33:10, 3:33:32–3:33:54, 3:37:19–3:37:29, C-
             SPAN (Jan. 6, 2021), https://www.c-span.org/video/?507744-
             1/rally-electoral-college-vote-certification (last accessed Dec.
             7, 2021) (“January 6th Rally Speech”). Toward the end of the
             speech, President Trump announced to his supporters that
             “we’re going to walk down Pennsylvania Avenue * * * to the
             Capitol and * * * we’re going to try and give our Republicans
             * * * the kind of pride and boldness that they need to take back
             our country.” Id. at 4:42:00–4:42:32. Urging the crowd to
             “demand that Congress do the right thing and only count the
             electors who have been lawfully slated[,]” he warned that
             “you’ll never take back our country with weakness” and
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             declared “[w]e fight like hell and if you don’t fight like hell,
             you’re not going to have a country anymore.” Id. at 3:47:20–
             3:47:42, 4:41:17–4:41:33.

                  Shortly after the speech, a large crowd of President
             Trump’s supporters—including some armed with weapons and
             wearing full tactical gear—marched to the Capitol and
             violently broke into the building to try and prevent Congress’s
             certification of the election results. See Capitol Attack Senate
             Report at 23, 27–29. The mob quickly overwhelmed law
             enforcement and scaled walls, smashed through barricades, and
             shattered windows to gain access to the interior of the Capitol.
             Id. at 24–25. Police officers were attacked with chemical
             agents, beaten with flag poles and frozen water bottles, and
             crushed between doors and throngs of rioters. Id. at 28–29;
             Hearing on the Law Enforcement Experience on January 6th
             Before the H. Select Comm. to Investigate the January 6th
             Attack on the U.S. Capitol, 117th Cong., at 2 (July 27, 2021)
             (statement of Sgt. Aquilino A. Gonell, U.S. Capitol Police).

                  As rioters poured into the building, members of the House
             and Senate, as well as Vice President Pence, were hurriedly
             evacuated from the House and Senate chambers. Capitol
             Attack Senate Report at 25–26. Soon after, rioters breached the
             Senate chamber. Id. In the House chamber, Capitol Police
             officers “barricaded the door with furniture and drew their
             weapons to hold off rioters.” Id. at 26. Some members of the
             mob built a hangman’s gallows on the lawn of the Capitol,
             amid calls from the crowd to hang Vice President Pence.3


                 3
                   167 CONG. REC. E1133 (daily ed. Oct. 22, 2021) (statement of
             Rep. Sheila Jackson Lee); 167 CONG. REC. H2347 (daily ed. May
             14, 2021) (statement of Rep. Steve Cohen); Peter Baker & Sabrina
             Tavernise, One Legacy of Impeachment: The Most Complete
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                  Even with reinforcements from the D.C. National Guard,
             the D.C. Metropolitan Police Department, Virginia State
             Troopers, the Department of Homeland Security, and the FBI,
             Capitol Police were not able to regain control of the building
             and establish a security perimeter for hours. Capitol Attack
             Senate Report at 26. The Joint Session reconvened late that
             night. It was not until 3:42 a.m. on January 7th that Congress
             officially certified Joseph Biden as the winner of the 2020
             presidential election. Id.

                  The events of January 6, 2021 marked the most significant
             assault on the Capitol since the War of 1812.4 The building
             was desecrated, blood was shed, and several individuals lost
             their lives. See Capitol Attack Senate Report at 27–29.
             Approximately 140 law enforcement officers were injured, and
             one officer who had been attacked died the next day. Id. at 29.
             In the aftermath, workers labored to sweep up broken glass,
             wipe away blood, and clean feces off the walls.5 Portions of
             the building’s historic architecture were damaged or destroyed,
             including “precious artwork” and “[s]tatues, murals, historic
             benches and original shutters[.]” House Hearing at 1
             (statement of J. Brett Blanton, Architect of the Capitol).




             Account So Far of Jan. 6, N.Y. TIMES (Feb. 13, 2021),
             https://perma.cc/2Z47-5XHX.
                 4
                     Jess Bravin, U.S. Capitol Has a History of Occasional
             Violence, but Nothing Like This, WALL ST. J. (Jan. 6, 2021),
             https://perma.cc/TPW2-9CD8; Press Release, Liz Cheney,
             Congresswoman, House of Representatives, A Select Committee Is
             The Only Remaining Option To Thoroughly Investigate January 6th
             (June 30, 2021), https://perma.cc/5RNC-Q6J3.
                 5
                     Baker & Tavernise, note 3, supra.
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                                            10
                                             B

                  On June 30, 2021, the United States House of
             Representatives created the Select Committee to Investigate
             the January 6th Attack on the United States Capitol. H.R. Res.
             503. The House directed the Committee to (1) “investigate the
             facts, circumstances, and causes relating to the domestic
             terrorist attack on the Capitol, including * * * influencing
             factors that contributed to” it; (2) “identify, review, and
             evaluate the cause of and the lessons learned” from the attack,
             including “the structure, coordination, operational plans,
             policies, and procedures of the Federal Government, * * *
             particularly with respect to detecting, preventing, preparing for,
             and responding to targeted violence and domestic terrorism”;
             and (3) “issue a final report to the House containing such
             findings, conclusions, and recommendations for corrective
             measures * * * as it may deem necessary.” Id. § 4(a). Those
             “corrective measures” include “changes in law, policy,
             procedures, rules, or regulations” to (1) “prevent future acts of
             violence * * * targeted at American democratic institutions”;
             (2) “improve the security posture of the United States Capitol
             Complex”; and (3) “strengthen the security and resilience” of
             the United States’ “democratic institutions[.]” Id. § 4(c).

                  The resolution expressly incorporates Rule XI of the Rules
             of the House of Representatives, which empowers the
             Committee “to require, by subpoena or otherwise, the
             attendance and testimony of such witnesses and the production
             of books, records, correspondence, memoranda, papers, and
             documents as it considers necessary,” including from “the
             President, and the Vice President, whether current or former,
             in a personal or official capacity, as well as the White House,
             the Office of the President, the Executive Office of the
             President, and any individual currently or formerly employed
             in the White House, Office of the President, or Executive
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             Office of the President[.]” Rules of the U.S. House of Reps.
             (117th Cong.) XI.2(m)(1)(B) & (m)(3)(D) (2021); see also
             H.R. Res. § 5(c).

                                             C

                  On August 25, 2021, pursuant to the Presidential Records
             Act, 44 U.S.C. § 2205(2)(C), the January 6th Committee
             requested that the United States Archivist produce from the
             National Archives documents, communications, videos,
             photographs, and other media generated within the White
             House on January 6, 2021 that relate to the rally on the Ellipse,
             the march to the Capitol, the violence at the Capitol, and the
             activities of President Trump and other high-level Executive
             Branch officials that day. Letter from Bennie G. Thompson,
             Chairman of the January 6th Committee, to David Ferriero,
             Archivist of the United States (Aug. 25, 2021), J.A. 33–44
             (“Thompson Ltr.”). The Committee also asked for calendars
             and schedules documenting meetings or events attended by
             President Trump, White House visitor records, and call logs
             and telephone records from January 6th. J.A. 34–36. In
             addition, the Committee requested records from specified time
             frames in 2020 and 2021 relating to (1) efforts to contest the
             results of the 2020 presidential election, (2) the security of the
             Capitol, (3) the planning of protests, marches, rallies, or
             speeches in D.C. leading up to January 6th, (4) information
             former President Trump received regarding the results of the
             2020 election and his public messaging about those results, and
             (5) the transfer of power from the Trump Administration to the
             Biden Administration. J.A. 36–44.

                 “Given the urgent nature of [the] request,” the Committee
             asked the Archivist to “expedite [its] consultation and
             processing times pursuant to * * * 36 C.F.R. § 1270.44(g).”
             Thompson Ltr., J.A. 33.
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                  On August 30, 2021, as provided by regulation, the
             Archivist notified former President Trump that he had
             identified a first tranche of 136 pages of responsive records that
             he intended to disclose to the January 6th Committee. J.A. 125;
             36 C.F.R. § 1270.44(c).

                  President Biden was notified of that same planned
             disclosure about a week later.           J.A. 125; 36 C.F.R.
             § 1270.44(c). The Archivist later withdrew seven pages from
             disclosure as non-responsive. J.A. 125. On October 8, 2021,
             the former President advised the Archivist that he was asserting
             executive privilege over 46 of those pages. J.A. 110–111, 126.
             The documents subject to Mr. Trump’s assertion of privilege
             involve “daily presidential diaries, schedules, [visitor logs],
             activity logs, [and] call logs, * * * all specifically for or
             encompassing January 6, 2021[,]” “drafts of speeches,
             remarks, and correspondence concerning the events of January
             6, 2021[,]” and “three handwritten notes concerning the events
             of January 6 from [former Chief of Staff Mark] Meadows’
             files[.]” J.A. 129. Former President Trump also made “a
             protective assertion of constitutionally based privilege with
             respect to all additional records” to be produced. J.A. 111.

                  That same day, Counsel to President Biden informed the
             Archivist that the President had “determined that an assertion
             of executive privilege is not in the best interests of the United
             States, and therefore is not justified as to any of the
             Documents” in the first tranche. First Remus Ltr., J.A. 107; 36
             C.F.R. § 1270.44(d). The letter explained:

                 [T]he insurrection that took place on January 6, and
                 the extraordinary events surrounding it, must be
                 subject to a full accounting to ensure nothing similar
                 ever happens again. Congress has a compelling need
                 in service of its legislative functions to understand the
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                                           13
                 circumstances that led to these horrific events. The
                 available evidence to date establishes a sufficient
                 factual predicate for the Select Committee’s
                 investigation: an unprecedented effort to obstruct the
                 peaceful transfer of power, threatening not only the
                 safety of Congress and others present at the Capitol,
                 but also the principles of democracy enshrined in our
                 history and our Constitution. The Documents shed
                 light on events within the White House on and about
                 January 6 and bear on the Select Committee’s need to
                 understand the facts underlying the most serious
                 attack on the operations of the Federal Government
                 since the Civil War.

                 These are unique and extraordinary circumstances.
                 Congress is examining an assault on our Constitution
                 and democratic institutions provoked and fanned by
                 those sworn to protect them, and the conduct under
                 investigation extends far beyond typical deliberations
                 concerning the proper discharge of the President’s
                 constitutional responsibilities. The constitutional
                 protections of executive privilege should not be used
                 to shield, from Congress or the public, information
                 that reflects a clear and apparent effort to subvert the
                 Constitution itself.

             First Remus Ltr., J.A. 107–108.

                  President Biden specified that his decision “applie[d]
             solely” to the documents in the first tranche. First Remus Ltr.,
             J.A. 108. After President Trump asserted privilege over some
             of the documents, the President advised that, for the reasons
             already given, he would “not uphold the former President’s
             assertion of privilege.” Second Remus Ltr., J.A. 113.
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                                            14
                  Citing “the urgency of the Select Committee’s need for the
             information,” President Biden instructed the Archivist to
             provide the relevant pages to the Committee 30 days after its
             notification to former President Trump. Second Remus Ltr.,
             J.A. 113; see 36 C.F.R. § 1270.44(f)(3), (g). Accordingly, on
             October 13, 2021, the Archivist informed former President
             Trump that, “as instructed by President Biden,” he would
             disclose to the Committee the privileged pages in the first
             tranche on November 12, 2021, “absent any intervening court
             order[.]” J.A. 115; see 36 C.F.R. § 1270.44(f)(3). That same
             day, the Archivist disclosed to the January 6th Committee the
             90 pages from the first tranche for which privilege was not
             claimed. J.A. 126.

                  On September 9, 2021, the Archivist informed former
             President Trump that he intended to disclose a second tranche
             of 742—later reduced to 739—responsive pages. J.A. 127.
             President Biden was notified shortly thereafter. J.A. 127.
             Counsel to the President later instructed the Archivist to extend
             for one week the review period for the second tranche. J.A.
             127.

                  On September 16 and 23, 2021, the Archivist notified
             former President Trump and President Biden, respectively, of
             a third tranche of 146 pages. J.A. 127, 130.

                  Former President Trump subsequently claimed privilege
             over 724 pages in the second and third tranches combined. J.A.
             127, 165–171. Those documents cover “pages from multiple
             binders containing proposed talking points for the Press
             Secretary * * * principally relating to allegations of voter
             fraud, election security, and other topics concerning the 2020
             election[,]” “presidential activity calendars and a related
             handwritten note for January 6, 2021, and for January 2021
             generally,” the “draft text of a presidential speech for the
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                                            15
             January 6, 2021, Save America March[,]” “a handwritten note
             from * * * Meadows’ files listing potential or scheduled
             briefings and telephone calls concerning the January 6
             certification and other election issues[,]” and “a draft Executive
             Order on the topic of election integrity[.]” J.A. 130. They also
             include “a memorandum apparently originating outside the
             White House regarding a potential lawsuit by the United States
             against several states President Biden won[,]” “an email chain
             originating from a state official regarding election-related
             issues[,]” “talking points on alleged election irregularities in
             one Michigan county[,]” “a document containing presidential
             findings concerning the security of the 2020 presidential
             election and ordering various actions[,]” and “a draft
             proclamation honoring the Capitol Police and deceased officers
             Brian Sicknick and Howard Liebengood, and related emails[.]”
             J.A. 130–131.

                  Several days later, President Biden advised the Archivist
             that he would not assert executive privilege to prevent
             disclosure or uphold the former President’s assertion of
             privilege for the identified documents in the second and third
             tranches. The President again concluded that an assertion of
             executive privilege “is not in the best interests of the United
             States,” reiterating his reasoning from the first letter. Third
             Remus Ltr., J.A. 173. Citing “the urgency of the Select
             Committee’s need for the information,” President Biden
             instructed the Archivist to provide the contested pages to the
             Committee 30 days after its notification of former President
             Trump, unless ordered otherwise by a court. Third Remus Ltr.,
             J.A. 174; see 36 C.F.R. § 1270.44(f)(3), (g).

                 The letter to the Archivist also advised that, “[i]n the
             course of an accommodation process between Congress and the
             Executive Branch,” the Committee had agreed to defer its
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                                           16
             request as to fifty pages of responsive records. J.A. 128; Third
             Remus Ltr., J.A. 174.

                  On October 27, 2021, the Archivist advised former
             President Trump that he would disclose the 724 pages in the
             second and third tranches for which a claim of privilege had
             been made to the January 6th Committee on November 26,
             2021, “absent any intervening court order.” J.A. 176. The
             Archivist added that he would not provide the documents that
             President Biden and the January 6th Committee had agreed to
             set aside. J.A. 176.

                  The Archivist’s search for presidential records covered by
             the Committee’s request is ongoing, and it “anticipates
             providing multiple additional notifications * * * on a rolling
             basis as it is able to locate responsive records.” J.A. 129.

                                            D

                 On October 18, 2021, former President Trump brought suit
             in the United States District Court for the District of Columbia
             to halt the disclosure of documents to the January 6th
             Committee. He filed suit “solely in his official capacity as a
             former President[,]” Compl. ¶ 20, J.A. 16, asserting claims
             under the Presidential Records Act, its regulations, the
             Declaratory Judgment Act, Executive Order No. 13,489, and
             the Constitution. Compl. ¶ 1, J.A. 7. Former President Trump
             argued that the Committee’s request seeks disclosure of records
             protected by executive privilege and lacks a valid legislative
             purpose. Compl. ¶ 38, 49, 50, J.A. 23–24, 28–29. He sought a
             declaratory judgment that the Committee’s request is invalid
             and unenforceable, as well an injunction preventing the
             Committee “from taking any actions to enforce the request[]”
             or “using * * * any information obtained as a result of the
             request[]” and barring the Archivist from “producing the
             requested information[.]” Compl. ¶ 54, J.A. 30–31.
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                 The next day, Mr. Trump filed a motion for a preliminary
             injunction “prohibiting Defendants from enforcing or
             complying with the Committee’s request.” Pl.’s Mot. for
             Prelim. Inj. at 1, D. Ct. Dkt. 5. He argued that he is likely to
             prevail on the ground that the Committee’s request “ha[s] no
             legitimate legislative purpose” and seeks “information that is
             protected by numerous privileges[,]” id. at 2, and that the court
             was required to conduct an in camera review of each assertedly
             privileged document, Pl.’s Reply at 24, D. Ct. Dkt. 33. He also
             contended that “the Republic” and “future Presidential
             administrations” would suffer irreparable harm if the records
             were released. Mem. in Supp. of Pl.’s Mot. for Prelim. Inj. at
             5–6 (“Prelim. Inj. Mem.”), D. Ct. Dkt. 5-1.

                  The district court denied the motion for a preliminary
             injunction, ruling that former President Trump’s “assertion of
             privilege is outweighed by President Biden’s decision not to
             uphold the privilege,” and declining to “second guess that
             decision by undertaking a document-by-document review[.]”
             J.A. 197. The court also said that the Committee acted within
             its legislative authority because its request involves “multiple
             subjects on which legislation ‘could be had[.]’” J.A. 204
             (quoting McGrain v. Daugherty, 273 U.S. 135, 177 (1927)).
             The court added that the Committee needs the documents to
             understand the “circumstances leading up to January 6[,]” and
             to “identify effective reforms,” and that “President Biden’s
             decision not to assert the privilege alleviates any remaining
             concern that the requests are overly broad.” J.A. 207.

                 As for irreparable injury, the district court found that the
             former President had not identified any personal interest
             threatened by production of the records, and that his claim that
             disclosure would “gravely undermine the functioning of the
             executive branch” was overtaken by President Biden’s
             determination that the records could safely be released, as well
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             as the long history of past Presidents waiving privilege when it
             was in the interests of the United States to do so. J.A. 212–213.
             Lastly, with respect to the balance of harms and public interest,
             the court concluded that “discovering and coming to terms with
             the causes underlying the January 6 attack is a matter of
             unsurpassed public importance[,]” and that “the public interest
             lies in permitting—not enjoining—the combined will of the
             legislative and executive branches[.]” J.A. 214–215.

                 The district court subsequently denied Mr. Trump’s request
             for an injunction pending appeal. D. Ct. Dkt. 43.

                                                E

                 Former President Trump filed an appeal and a motion for
             both an injunction pending appeal and expedited briefing.
             Emergency Mot. for Admin. Inj. (Nov. 11, 2021). That same
             day, this court administratively enjoined the Archivist from
             releasing the records from the first three tranches over which
             former President Trump had claimed executive privilege, and
             set a highly expedited schedule for the preliminary injunction
             appeal. Per Curiam Order (Nov. 11, 2021).6




                  6
                    The only privilege at issue in this appeal is the constitutionally
             based presidential communications privilege. Mr. Trump has not
             argued that any of the documents for which he has asserted privilege
             are protected by common-law privileges, and his counsel told the
             district court that there are no private attorney-client documents
             among those ready for release. See Hearing Tr. 60:21–61:6, D. Ct.
             Dkt. 41 (Nov. 10, 2021), J.A. 278–279.
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                                            19
                                            II

                 The district court exercised jurisdiction under 44 U.S.C.
             § 2204(e) and 28 U.S.C. § 1331. This court has jurisdiction
             under 28 U.S.C. § 1292(a)(1).

                  We review the district court’s denial of a preliminary
             injunction for an abuse of discretion, its legal conclusions de
             novo, and its factual findings for clear error. Make the Road
             New York v. Wolf, 962 F.3d 612, 623 (D.C. Cir. 2020).

                                            III

                 While the underlying lawsuit challenges the full span of the
             January 6th Committee’s request for presidential records, this
             preliminary injunction appeal involves the narrower question
             of whether former President Trump’s assertion of executive
             privilege as to a subset of documents in the Archivist’s first
             three tranches requires that those documents be withheld from
             the Committee. See Oral Arg. Tr. 12:25–13:6. Those are the
             only documents for which President Biden has determined that
             withholding based on executive privilege is not in the interests
             of the United States, contrary to former President Trump’s
             position.

                 The Archivist’s search for responsive records is ongoing,
             and there will almost certainly be documents in future tranches
             over which former President Trump will claim privilege. But
             at this early stage of the proceedings, those potential claims of
             privilege over records in not-yet-extant tranches have not yet
             been considered by President Biden, nor been subject to
             interbranch negotiation and accommodation. Any potential
             future claims are neither ripe for constitutional adjudication nor
             capable of supporting this preliminary injunction, since courts
             should not reach out to evaluate a former President’s executive
             privilege claim based on “future possibilities for constitutional
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             conflict[.]” Nixon v. Administrator of Gen. Servs., 433 U.S.
             425, 444–445 (1977); see also Ashwander v. Tennessee Valley
             Auth., 297 U.S. 288, 346–348 (1936) (Brandeis, J., concurring)
             (“The Court will not anticipate a question of constitutional law
             in advance of the necessity of deciding it.”) (internal quotation
             marks and citation omitted); cf. Plaut v. Spendthrift Farm, Inc.,
             514 U.S. 211, 217 (1995) (courts should take “the narrower
             ground for adjudication of the constitutional questions”).7

                  To understand the legal dispute, some background on the
             constitutional interests at stake is in order.

                             Congress’s Investigative Power

                  Congress’s power to conduct investigations appears
             nowhere in the text of the Constitution. Yet it is settled law
             that Congress possesses “the power of inquiry” as “an essential
             and appropriate auxiliary to the legislative function.”
             McGrain, 273 U.S. at 175. That is because “[w]ithout
             information, Congress would be shooting in the dark, unable to
             legislate ‘wisely or effectively.’” Trump v. Mazars USA, LLP,
             140 S. Ct. 2019, 2031 (2020) (quoting McGrain, 273 U.S. at
             174). Congress’s power to obtain information is “broad” and

                  7
                    The Archivist provided a fourth tranche of roughly 551 pages
             of responsive records to former President Trump and President Biden
             in mid-October. See J.A. 128. As of now, former President Trump
             and President Biden have reviewed only a small set of pages from
             that tranche. See Records Related to the Request for Presidential
             Records by the House Select Committee to Investigate the January
             6th Attack on the United States Capitol, NATIONAL ARCHIVES (last
             updated Nov. 19, 2021), https://www.archives.gov/foia/january-6-
             committee (last accessed Dec. 7, 2021). Former President Trump
             asserted executive privilege over six pages, and President Biden has
             declined to support that assertion. Id. Former President Trump has
             not raised any arguments about those six pages in this appeal.
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             “indispensable[,]” Watkins v. United States, 354 U.S. 178, 187,
             215 (1957), and “encompasses inquiries into the administration
             of existing laws, studies of proposed laws, and ‘surveys of
             defects in our social, economic or political system for the
             purpose of enabling the Congress to remedy them,’” Mazars,
             140 S. Ct. at 2031 (quoting Watkins, 354 U.S. at 187).

                  Congress’s power to investigate has limits, however.
             Because it is “justified solely as an adjunct to the legislative
             process[,]” Watkins, 354 U.S. at 197, “a congressional
             subpoena is valid only if it is ‘related to, and in furtherance of,
             a legitimate task of Congress[,]’” Mazars, 140 S. Ct. at 2031
             (quoting Watkins, 354 U.S. at 187). That generally means it
             must “concern[] a subject on which ‘legislation could be had.’”
             Eastland v. United States Servicemen’s Fund, 421 U.S. 491,
             506 (1975) (quoting McGrain, 273 U.S. at 177).

                  Relatedly, “Congress may not issue a subpoena for the
             purpose of ‘law enforcement,’ because ‘those powers are
             assigned under our Constitution to the Executive and the
             Judiciary.’” Mazars, 140 S. Ct. at 2032 (quoting Quinn v.
             United States, 349 U.S. 155, 161 (1955)). Likewise, “there is
             no congressional power to expose for the sake of exposure.”
             Watkins, 345 U.S. at 200.

                  Finally, “recipients of legislative subpoenas * * * have
             long been understood [by the courts] to retain common law and
             constitutional privileges with respect to certain materials, such
             as * * * governmental communications protected by executive
             privilege.” Mazars, 140 S. Ct. at 2032.

                  Because “Congress’s responsibilities extend to ‘every
             affair of government[,]’” its “inquiries might involve the
             President in appropriate cases[.]” Mazars, 140 S. Ct. at 2033
             (quoting United States v. Rumely, 345 U.S. 41, 43 (1953)).
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                  “Historically, disputes over congressional demands for
             presidential documents” have not involved the courts but,
             instead, “have been hashed out in the hurly-burly, the give-and-
             take of the political process between the legislative and the
             executive.” Mazars, 140 S. Ct. at 2029 (internal quotation
             marks and citation omitted).

                   But when disputes between the President and Congress
             over records requests have made their way to court, courts have
             employed carefully tailored balancing tests that weigh the
             competing constitutional interests. See Mazars, 140 S. Ct. at
             2035–2036 (asking whether a subpoena for a President’s
             personal records is “related to, and in furtherance of, a
             legitimate task of Congress” in that (1) the legislative purpose
             warrants a request for a President’s records in particular, (2) the
             subpoena is not overbroad, (3) Congress has adequately
             identified a valid legislative purpose, and (4) the subpoena
             would not unduly burden the President) (quoting Watkins, 345
             U.S. at 187); Senate Select Comm. on Presidential Campaign
             Activities v. Nixon, 498 F.2d 725, 731 (D.C. Cir. 1974)
             (weighing a President’s assertion of privilege against whether
             “subpoenaed evidence is demonstrably critical to the
             responsible fulfillment of the Committee’s functions”); cf.
             United States v. Nixon, 418 U.S. 683, 713 (1974) (“The
             generalized assertion of privilege must yield to the
             demonstrated, specific need for evidence in a pending criminal
             trial.”). None of those tests, though, have been applied to
             resolve a privilege dispute between a former President and the
             joint judgment of the incumbent President and the Legislative
             Branch.

                                   Executive Privilege

                  The canonical form of executive privilege, and the one at
             issue here, is the presidential communications privilege. That
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             privilege allows a President to protect from disclosure
             “documents or other materials that reflect presidential
             decisionmaking and deliberations and that the President
             believes should remain confidential.” In re Sealed Case, 121
             F.3d 729, 744 (D.C. Cir. 1997); see United States v. Nixon, 418
             U.S. at 705. The privilege applies not only to materials viewed
             by the President directly, but also to records “solicited and
             received by the President or [the President’s] immediate White
             House advisers who have broad and significant responsibility”
             for advising the President. Judicial Watch, Inc. v. Department
             of Justice, 365 F.3d 1108, 1114 (D.C. Cir. 2004) (internal
             quotation marks and citation omitted).

                  This presidential privilege, like Congress’s investigative
             power, is not mentioned in the text of the Constitution.
             Nonetheless, “presidential claims to such a power go as far
             back as the early days of the Republic[,]” 26A CHARLES ALAN
             WRIGHT ET AL., FEDERAL PRACTICE & PROCEDURE EVIDENCE
             § 5673 (1st ed. 2021), and the Supreme Court has concluded
             that “the silence of the Constitution on this score is not
             dispositive,” United States v. Nixon, 418 U.S. at 705 n.16.
             Instead, an implied executive privilege “derives from the
             supremacy of the Executive Branch within its assigned area of
             constitutional responsibilities,” Nixon v. GSA, 433 U.S. at 447,
             is “fundamental to the operation of Government[,] and [is]
             inextricably rooted in the separation of powers under the
             Constitution,” United States v. Nixon, 418 U.S. at 708.

                  The executive privilege is just that—a privilege held by
             the Executive Branch, “not for the benefit of the President as
             an individual, but for the benefit of the Republic.” Nixon v.
             GSA, 433 U.S. at 449 (citation omitted). Because “[a]
             President and those who assist him must be free to explore
             alternatives in the process of shaping polices and making
             decisions and to do so in a way many would be unwilling to
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             express except privately,” United States v. Nixon, 418 U.S. at
             708, the privilege “safeguards the public interest in candid,
             confidential deliberations within the Executive Branch,”
             Mazars, 140 S. Ct. at 2032.

                  But the executive privilege is a qualified one; it is not
             “absolute[.]” United States v. Nixon, 418 U.S. at 707.
             Executive privilege may be overcome by “a strong showing of
             need by another institution of government[.]” Senate Select
             Comm., 498 F.2d at 730; see also United States v. Nixon, 418
             U.S. at 707. And the privilege may give way in the face of
             other “strong constitutional value[s,]” Dellums v. Powell, 561
             F.2d 242, 247 (D.C. Cir. 1977), such as “the fundamental
             demands of due process of law” in criminal trials, United States
             v. Nixon, 418 U.S. at 713; see also Protect Democracy Project,
             Inc. v. National Security Agency, 10 F.4th 879, 886 (D.C. Cir.
             2021).

                  Despite its unquestioned significance, executive privilege
             also can be waived. The historical record documents numerous
             instances in which Presidents have waived executive privilege
             in times of pressing national need. See page 41, infra
             (providing examples).

                  The privilege, like all other Article II powers, resides with
             the sitting President. Nevertheless, in Nixon v. GSA, the
             Supreme Court held that former Presidents retain for some
             period of time a right to assert executive privilege over
             documents generated during their administrations. 433 U.S. at
             449, 451. The Court held that this residual right protects only
             “the confidentiality required for the President’s conduct of
             office[,]” rather than any personal interest in nondisclosure. Id.
             at 448.

                 In addition, when it comes to evaluating the impact on the
             Executive Branch of disclosing presidential materials, the
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             Supreme Court was explicit that the incumbent President is “in
             the best position to assess the present and future needs of the
             Executive Branch[.]” Nixon v. GSA, 433 U.S. at 449.8

                       The Management of Presidential Records:
                                Statutory Provisions

                 Starting with George Washington, “Presidents exercised
             complete dominion and control over their presidential papers”
             after leaving office. Nixon v. United States, 978 F.2d 1269,
             1277 (D.C. Cir. 1992). This tradition “made for a highly
             idiosyncratic if not entirely unhappy record of preserving the
             papers of United States Presidents.” NATIONAL STUDY
             COMM’N ON RECORDS & DOCUMENTS OF FED. OFFICIALS,
             MEMORANDUM OF FINDINGS ON EXISTING CUSTOM OR LAW,
             FACT AND OPINION 3 (undated), reprinted in Presidential
             Records Act of 1978: Hearings on H.R. 10998 and Related
             Bills Before a Subcomm. of the H. Comm. on Gov’t Operations,
             95th Cong. 467, 469 (1978).

                 Following the Watergate scandal and the resignation of
             President Richard Nixon, Congress passed the Presidential
             Recordings and Materials Preservation Act (“Preservation
             Act”), which focused exclusively on former President Nixon’s
             tape recordings, papers, and other historical materials from his
             term in office. See Pub. L. No. 93-526, § 101, 88 Stat. 1695
             (1974). The Preservation Act required the General Services
             Administrator to “receive, retain, or make reasonable efforts to
             obtain, complete possession and control of” those historical
             materials, and make them publicly “available, subject to any

                  8
                    Like the Supreme Court, we treat the terms “presidential
             privilege,” “presidential communications privilege,” and “executive
             privilege” as interchangeable for purposes of this case. See Nixon v.
             GSA, 433 U.S. at 446 n.9; see also Dellums, 561 F.2d at 245 n.8.
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             rights, defenses, or privileges which the Federal Government
             or any person may invoke, for use in any judicial proceeding or
             otherwise subject to court subpena [sic] or other legal process.”
             Id. §§ 101, 102, 88 Stat. at 1695–1696; see 44 U.S.C. § 2111
             note.9

                 Four years later, Congress enacted the Presidential Records
             Act of 1978. That Act provides that, as of January 21, 1981,
             the United States “shall reserve and retain complete ownership,
             possession, and control of Presidential records.” 44 U.S.C.
             § 2202 & note. The Act defines “Presidential records” as:

                     [D]ocumentary materials, or any reasonably
                     segregable portion thereof, created or received
                     by the President, the President’s immediate
                     staff, or a unit or individual of the Executive
                     Office of the President whose function is to
                     advise or assist the President, in the course of
                     conducting activities which relate to or have an
                     effect upon the carrying out of the
                     constitutional, statutory, or other official or
                     ceremonial duties of the President.

             Id. § 2201(2). “[P]ersonal records” of a President, defined as
             documentary materials “of a purely private or nonpublic
             character which do not relate to or have an effect upon the
             carrying out of the constitutional, statutory, or other official or



                 9
                     The Archivist of the National Archives and Records
             Administration replaced the Administrator of the General Services
             Administration in 1984. See Public Citizen v. Burke, 843 F.2d 1473,
             1475 (D.C. Cir. 1988); National Archives and Records
             Administration Act of 1984, Pub. L. No. 98-497, § 103(b)(2), 98
             Stat. 2280, 2283.
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             ceremonial duties of the President[,]” are excluded from
             regulation. Id. § 2201(3).

                 Under the Presidential Records Act, once a President’s time
             in office concludes, the “Archivist of the United States shall
             assume responsibility for the custody, control, and preservation
             of, and access to, the Presidential records of that President.” 44
             U.S.C. § 2203(g)(1). The Archivist has “an affirmative duty to
             make such records available to the public as rapidly and
             completely as possible consistent with the provisions” of the
             Presidential Records Act. Id. § 2203(g)(1).

                 The Act provides former Presidents with some protection
             against public disclosure. Specifically, the Act allows a
             President, when leaving office, to restrict for up to twelve years
             public access to records that (1) are classified and involve
             national defense or foreign policy, (2) relate to appointments to
             public office, (3) are exempt from disclosure under certain
             federal statutes, (4) contain trade secrets or other privileged or
             confidential commercial or financial information obtained
             from a person, (5) constitute “confidential communications
             requesting or submitting advice, between the President and the
             President’s advisers, or between such advisers[,]” or (6)
             personnel, medical, and similar files implicating personal
             privacy. 44 U.S.C. § 2204(a) & (a)(1)–(a)(6); see also 36
             C.F.R. § 1270.40(a).

                 The Act tasks the Archivist with properly designating
             “[a]ny Presidential record or reasonably segregable portion
             thereof containing information within a category restricted by
             the President[,]” and preventing public access to those
             documents until the appropriate time. 44 U.S.C. § 2204(b)(1);
             see also 36 C.F.R. § 1270.40(c). The Presidential Records Act
             precludes judicial review of the Archivist’s designations
             “[d]uring the period of restricted access[,]” except for “any
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             action initiated by the former President asserting that a
             determination made by the Archivist violates the former
             President’s rights or privileges.” 44 U.S.C. § 2204(b)(3), (e).

                 Relevant to this case, under the Presidential Records Act,
             those restrictions on public access do not apply, and the
             Archivist “shall” provide access to presidential records, when
             the documents are:

                •   subpoenaed or subjected to other judicial process by a
                    court as part of a civil or criminal proceeding;

                •   requested by an incumbent President “if such records
                    contain information that is needed for the conduct of
                    current business of the incumbent President’s office
                    and that is not otherwise available”; or

                •   requested by either House of Congress or a committee
                    acting within its jurisdiction and the information is
                    “needed for the conduct of its business and [is] not
                    otherwise available[.]”

             44 U.S.C. § 2205(2)(A)–(C). Disclosure under this section is
             “subject to any rights, defenses, or privileges which the United
             States or any agency or person may invoke[.]” Id. at § 2205(2).

                      The Management of Presidential Records:
                              Regulatory Provisions

                 Under the Preservation Act, the National Archives and
             Records Administration promulgated regulations providing
             that the Archivist would decide which assertions of “legal or
             constitutional right[s] or privilege[s]” would “prevent or limit
             public access” to the presidential records of former President
             Nixon. See 36 C.F.R. §§ 1275.26(g), 1275.44(a) (1987).
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                 The Department of Justice’s Office of Legal Counsel
             interpreted those regulations as requiring that “the Archivist
             must and will honor any claim of executive privilege asserted
             by an incumbent President, * * * [and] that the Archivist must
             and will treat any claim by a former President” in accordance
             with “the supervision and control of the incumbent President.”
             Memorandum from Charles J. Cooper, Assistant Attorney
             General, Office of Legal Counsel, Department of Justice, to
             Robert P. Bedell, Deputy Administrator, Office of Information
             and Regulatory Affairs, Office of Management. and Budget
             23–24, 26 (Feb. 18, 1986), reprinted in Review of Nixon
             Presidential Materials Access Regulations: Hearing Before a
             Subcomm. of the H. Comm. on Gov’t Operations, 99th Cong.
             263–292 (1986) (“1986 OLC Memorandum”); see Public
             Citizen v. Burke, 843 F.2d 1473, 1476–1477 (D.C. Cir. 1988).

                 In the view of the Office of Legal Counsel, the incumbent
             President “should respect a former President’s claim of
             executive privilege without judging the validity of the claim[,]”
             leaving the “judgment regarding such a claim * * * to the
             judiciary in litigation between the former President and parties
             seeking disclosure.” 1986 OLC Memorandum at 26. The OLC
             memorandum acknowledged, though, that “if the incumbent
             President believes that the discharge of his [or her]
             constitutional duties * * * demands the disclosure of
             documents claimed by the former President to be privileged, it
             may be necessary for [the President] to oppose a former
             President’s claim” even if “it is generally not appropriate for
             an incumbent President to review and adjudicate the merits of
             a predecessor’s claim of executive privilege[.]” Id.; see also
             Burke, 843 F.2d at 1478–1479. In that event, the Archivist
             would be obliged to follow the direction of the incumbent
             President. 1986 OLC Memorandum at 24, 26; see Burke, 843
             F.2d at 1478–1479.
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                 In Public Citizen v. Burke, this court held that the Office of
             Legal Counsel’s interpretation was neither constitutionally
             required nor compatible with the Preservation Act. 843 F.2d at
             1479–1480. We ruled that “the incumbent President is not
             constitutionally obliged to honor former President Nixon’s
             invocation of executive privilege with respect to the Nixon
             papers[.]” Id. at 1479. Rather, it was the incumbent President’s
             duty under the Preservation Act to “consider the host of
             difficult questions that arise in this area,” even if that meant
             being put in the “awkward position” of taking “a position on
             claims of executive privilege put forward by former President
             Nixon.” Burke, 843 F.2d at 1479.

                 Meanwhile, the Presidential Records Act had tasked the
             Archivist with promulgating regulations for the provision of
             notice to a former President when materials for which access
             had been restricted are sought by a court, the President, or
             Congress under 44 U.S.C. § 2205(2), and “when the disclosure
             of particular documents may adversely affect any rights and
             privileges which the former President may have[.]” 44 U.S.C.
             § 2206(2)–(3).

                 The Archivist promulgated those regulations in 1988. See
             36 C.F.R. Pt. 1270 (1989). The regulations required the
             Archivist to notify a former President or the former President’s
             designated representative “before any Presidential records of
             his [or her] Administration [were] disclosed” either to the
             public or under Section 2205, including releases to Congress
             and its committees. 36 C.F.R. § 1270.46(a) (1989). If then “a
             former President raise[d] rights or privileges which he [or she]
             believe[d] should preclude the disclosure of a Presidential
             record,” but the Archivist decided that the record still should
             be disclosed, “in whole or in part,” the Archivist was required
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             to give notice to the former President or the President’s
             representative. Id. § 1270.46(c).

                 Shortly after those regulations were promulgated, President
             Ronald Reagan issued an Executive Order that expanded on the
             process for responding to a former President’s invocation of
             privilege. See Exec. Order No. 12,667, 54 Fed. Reg. 3403 (Jan.
             18, 1989); see also 44 U.S.C. § 2204 note. Under that
             Executive Order, when the incumbent President invoked
             executive privilege, the Archivist was prohibited from
             disclosing the records “unless directed to do so by an
             incumbent President or by a final court order.” Exec. Order
             No. 12,667 § 3(d). If a former President invoked executive
             privilege, but the incumbent did not, the Archivist was charged
             with determining “whether to honor the former President’s
             claim of privilege[.]” Id. § 4(a). In making that determination,
             though, the Archivist was bound to “abide by any instructions
             given him [or her] by the incumbent President or [the
             President’s] designee unless otherwise directed by a final court
             order.” Id. § 4(b).

                President Reagan’s Executive Order governed the handling
             of privilege claims by former Presidents for more than a
             decade. See 44 U.S.C. § 2204 note.

                In 2001, President George W. Bush issued an Executive
             Order that took a different tack. Exec. Order No. 13,233, 66
             Fed. Reg. 56,025 (Nov. 1, 2001); see 44 U.S.C. § 2204 note.

                 For disclosures to Congress or one of its committees under
             44 U.S.C. § 2205(2)(C), the new Executive Order provided that
             the “Archivist shall not permit access to the records unless and
             until * * * the former President and the incumbent President
             agree to authorize access” or a “final and nonappealable court
             order” requires it. Exec. Order No. 13,233 § 6 (emphasis
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             added). While that new procedure reflected President Bush’s
             view of proper policy, the Administration was explicit that such
             deference to a former President was not constitutionally
             compelled and would not affect a court’s disposition of a
             lawsuit by the former President. See Hearings on Executive
             Order 13,233 and the Presidential Records Act Before the
             Subcomm. of the H. Comm. on Gov’t Reform, 107th Cong. 20,
             108 (2001–2002) (“Executive Order 13,233 Hearings”)
             (statement of M. Edward Whelan III, Acting Assistant
             Attorney General, Office of Legal Counsel, Department of
             Justice); id. at 21 (“Let me emphasize, moreover, that the
             Executive order is wholly procedural in nature.” It does not “in
             any respect purport to redefine the substantive scope of any
             constitutional privilege.”).10 In addition, the incumbent
             President need not “support that privilege claim” in the “forum
             in which the privilege claim is challenged.” Exec. Order No.
             13,233 § 4.11

                 President Barack Obama returned to the procedures
             established by President Reagan. Exec. Order No. 13,489, 74
             Fed. Reg. 4669 (Jan. 21, 2009); see 44 U.S.C. § 2204 note.

                 In 2014, Congress largely codified the approach of the
             Reagan Executive Order. The Presidential and Federal
             Records Act Amendments of 2014, Pub. L. No. 113-187, 128
             Stat. 2003, provided detailed procedures for protecting and

                 10
                    Mr. Trump has not argued that the Constitution requires that
             the views of a former President unilaterally control. Nor could he.
             See Nixon v. GSA, 433 U.S. at 449; Burke, 843 F.2d at 1479; Nixon
             v. United States, 978 F.2d at 1272.
                 11
                     The Executive Order provided that the incumbent President
             “will support” the former President’s privilege claim only when he
             concurs in the assertion of privilege and access is sought by the
             public under 44 U.S.C. § 2204(c)(1). Exec. Order No. 13,233 § 4.
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             asserting claims of “constitutionally based privilege” against
             disclosure “to the public” of presidential records. Id. § 2; 44
             U.S.C. § 2208 (procedures for public disclosure). The 2014
             Amendments provide that, if “the incumbent President
             determines not to uphold the claim of privilege asserted by the
             former President,” then “the Archivist shall release the
             Presidential record subject to the claim” at the end of a 90-day
             period unless otherwise directed by a court order. 44 U.S.C.
             § 2208(c)(2)(C) (emphasis added).

                 The 2014 amendments did not expressly extend those
             notification procedures to disclosures to Congress, the
             incumbent President, or the judiciary under Section 2205. But
             under the Trump Administration, the National Archives
             promulgated regulations “ensur[ing] that the former and
             incumbent Presidents are given notice and an opportunity to
             consider whether to assert a constitutionally based privilege”
             when disclosure is sought under Section 2205. Presidential
             Records, 82 Fed. Reg. 26,588, 26,589 (June 8, 2017). Under
             those regulations, the Archivist must “promptly notif[y] the
             President * * * during whose term of office the record was
             created, and the incumbent President” of a document request
             by, inter alia, “either House of Congress, or * * * a
             congressional committee or subcommittee” under 44 U.S.C.
             § 2205(2)(c). 36 C.F.R. § 1270.44(a)(3), (c). Once notified,
             “either President may assert a claim of constitutionally based
             privilege against disclosing the record or a reasonably
             segregable portion of it within 30 calendar days after the date
             of the Archivist’s notice.” Id. § 1270.44(d).

                 If the incumbent President maintains a privilege claim, the
             Archivist may not disclose the document absent court order.
             36 C.F.R. § 1270.44(e)(2). On the other hand, if the former
             President asserts privilege, the Archivist must consult with the
             incumbent President “to determine whether the incumbent
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             President will uphold the claim.” 36 C.F.R. § 1270.44(f)(1). If
             the incumbent President upholds and maintains the claim, then
             the Archivist may not disclose the presidential record without
             a court order. Id. § 1270.44(f)(2). If the incumbent President
             does not uphold or withdraws the privilege claim or fails to
             decide within 30 days, the Archivist must “disclose[] the
             Presidential record” after a 60-day time period, unless a court
             orders otherwise. Id. § 1270.44(f)(3).

                So for 24 years of the Presidential Records Act’s operation
             and across five different presidencies, Presidents, including
             former President Trump, have agreed that the disclosure
             decision of an incumbent President controls within the
             Executive Branch over the contrary claim of a former
             President. And all Presidents have agreed that the Constitution
             does not obligate an incumbent President or court to uphold the
             views of a former President. See Burke, 843 F.2d at 1479.

                                            IV

                 With that background in mind, we turn to the merits of
             former President Trump’s appeal. Our starting point is the
             Supreme Court’s admonition that a preliminary injunction is
             “an extraordinary remedy that may only be awarded upon a
             clear showing that the plaintiff is entitled to such relief.”
             Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 22
             (2008). The movant must: (1) establish a likelihood of
             “succe[ss] on the merits”; (2) show “irreparable harm in the
             absence of preliminary relief”; (3) demonstrate that the equities
             favor issuing an injunction; and (4) persuade the court that “an
             injunction is in the public interest.” Id. at 20. The likelihood
             of success and irreparability of harm “are the most critical”
             factors. Nken v. Holder, 556 U.S. 418, 434 (2009). The
             balance of harms and the public interest factors merge when
             the government is the opposing party. Id. at 435.
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                On this record, former President Trump has failed to satisfy
             any of those criteria for preliminary injunctive relief.

                                            A

                  There is no question that the former President can file suit
             to press his claim of executive privilege. The Supreme Court
             in Nixon v. GSA specifically “reject[ed] the argument that only
             an incumbent President may assert such claims” and ruled that
             “a former President[] may also be heard to assert them” in
             court. 433 U.S. at 439. The Court explained that executive
             privilege “is necessary to provide the confidentiality required
             for the President’s conduct of office” because, “[u]nless he can
             give his advisers some assurance of confidentiality, a President
             could not expect to receive the full and frank submissions of
             facts and opinions upon which effective discharge of his duties
             depends.” Id. at 448–449. “[T]he privilege survives the
             individual President’s tenure[,]” the Court said, because the
             “privilege is not for the benefit of the President as an
             individual, but for the benefit of the Republic.” Id. at 449
             (internal quotation marks and citation omitted). So the
             privilege that Mr. Trump asserts in his capacity as a former
             President is of constitutional stature.

                  The Presidential Records Act reflects that understanding
             by providing that a former President may initiate an action
             “asserting that a determination made by the Archivist violates
             the former President’s rights or privileges.” 44 U.S.C.
             § 2204(e). And “[n]othing in [the] Act shall be construed to
             * * * limit * * * any constitutionally-based privilege which
             may be available to a[] * * * former President.” Id. at
             § 2204(c)(2).
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                                            36
                                             B

                  While former President Trump can press an executive
             privilege claim, the privilege is a qualified one, as he agrees.
             See Nixon v. GSA, 433 U.S. at 446; United States v. Nixon, 418
             U.S. at 707; Appellant Opening Br. 35. Even a claim of
             executive privilege by a sitting President can be overcome by
             a sufficient showing of need. See United States v. Nixon, 418
             U.S. at 713; In re Sealed Case, 121 F.3d at 292. The right of a
             former President certainly enjoys no greater weight than that of
             the incumbent.

                  In cases concerning a claim of executive privilege, the
             bottom-line question has been whether a sufficient showing of
             need for disclosure has been made so that the claim of
             presidential privilege “must yield[.]” Nixon v. GSA, 433 U.S.
             at 454; see United States v. Nixon, 418 U.S. at 706, 713.12

                  In this case, President Biden, as the head of the Executive
             Branch, has specifically found that Congress has demonstrated
             a compelling need for these very documents and that disclosure
             is in the best interests of the Nation. Congress, which has
             engaged in a course of negotiation and accommodation with
             the President over these documents, agrees. So the tests that
             courts have historically used to police document disputes
             between the Political Branches seem a poor fit when the
             Executive and Congress together have already determined that
             the “demonstrated and specific” need for disclosure that former
             President Trump would require, Appellant Opening Br. 35, has
             been met. A court would be hard-pressed under these
             circumstances to tell the President that he has miscalculated the

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                     Mr. Trump’s counsel agrees that this standard governs. See
             Oral Arg. Tr. 34:23–25; Appellant Opening Br. 35 (“[T]he executive
             privilege * * * can only be invaded pursuant to a demonstrated and
             specific showing of need[.]”).
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                                            37
             interests of the United States, and to start an interbranch
             conflict that the President and Congress have averted.

                  But we need not conclusively resolve whether and to what
             extent a court could second guess the sitting President’s
             judgment that it is not in the interests of the United States to
             invoke privilege. Under any of the tests advocated by former
             President Trump, the profound interests in disclosure advanced
             by President Biden and the January 6th Committee far exceed
             his generalized concerns for Executive Branch confidentiality.

                                            1

                  On this record, a rare and formidable alignment of factors
             supports the disclosure of the documents at issue. President
             Biden has made the considered determination that an assertion
             of executive privilege is not in the best interests of the United
             States given the January 6th Committee’s compelling need to
             investigate and remediate an unprecedented and violent attack
             on Congress itself. Congress has established that the
             information sought is vital to its legislative interests and the
             protection of the Capitol and its grounds. And the Political
             Branches are engaged in an ongoing process of negotiation and
             accommodation over the document requests.

                                            a

                  President Biden’s careful and cabined assessment that the
             best interests of the Executive Branch and the Nation warrant
             disclosing the documents, by itself, carries immense weight in
             overcoming the former President’s assertion of privilege.

                 To start, as the incumbent, President Biden is the principal
             holder and keeper of executive privilege, and he speaks
             authoritatively for the interests of the Executive Branch. Under
             our Constitution, we have one President at a time. Article II is
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             explicit that “[t]he executive Power shall be vested in a
             President of the United States of America.” U.S. CONST. Art.
             II, § 1, cl. 1 (emphasis added); see Seila Law LLC v. Consumer
             Fin. Prot. Bureau, 140 S. Ct. 2183, 2191 (2020) (“[T]he
             ‘executive Power’—all of it—is ‘vested in a President[.]’”)
             (emphasis added) (quoting U.S. CONST., Art. II, § 1, cl. 1). As
             between a former and an incumbent President, “only the
             incumbent is charged with performance of the executive duty
             under the Constitution.” Nixon v. GSA, 433 U.S. at 448.

                  To be sure, former President Trump has important insight
             on the value of preserving the confidentiality of records created
             during his administration. But it is only President Biden who
             can make a fully informed and circumspect assessment of all
             the competing needs and interests of the Executive Branch.
             These might include (to name just a few) the current and
             prospective threats to democratic institutions and the electoral
             process, intelligence on domestic extremists, the full panoply
             of competing privilege claims and disputes between the
             Executive Branch and Congress, the sensitive status of
             interbranch relations at multiple levels, and the costs and
             benefits of a privilege battle or disclosure at the time the matter
             arises.

                  The Supreme Court underscored this point when it held, in
             rejecting a claim of executive privilege by another former
             President, that “it must be presumed that the incumbent
             President is vitally concerned with and in the best position to
             assess the present and future needs of the Executive Branch,
             and to support invocation of the privilege accordingly.” Nixon
             v. GSA, 433 U.S. at 449; see also Dellums, 561 F.2d at 247
             (“[I]t is the new President who has the information and
             attendant duty of executing the laws in light of current facts and
             circumstances, and who has the primary * * * responsibility of
             deciding when presidential privilege must be claimed[.]”).
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                                            39
                  So President Biden’s explicit and informed judgment
             “detracts from the weight of” former President Trump’s view
             that disclosure in these circumstances “impermissibly intrudes
             into the executive function and the needs of the Executive
             Branch.” Nixon v. GSA, 433 U.S. at 449.

                  In addition, President Biden has identified weighty
             reasons for declining to assert privilege here. He grounded his
             decision in the “unique and extraordinary circumstances” of the
             January 6th attack—“an unprecedented effort to obstruct the
             peaceful transfer of power” that “threaten[ed] not only the
             safety of Congress and others present at the Capitol, but also
             the principles of democracy enshrined in our history and our
             Constitution.” First Remus Ltr., J.A. 107–108. President
             Biden further emphasized Congress’s “compelling need in
             service of its legislative functions to understand the
             circumstances that led to these horrific events.” First Remus
             Ltr., J.A. 107. President Biden also tied his decision to “[t]he
             available evidence to date[,]” which he concluded “establishes
             a sufficient factual predicate for the Select Committee’s
             investigation” of these presidential papers. First Remus Ltr.,
             J.A. 107.       Finally, President Biden acknowledged the
             “constitutional protections of executive privilege[,]” but
             explained that “the conduct under investigation extends far
             beyond typical deliberations concerning the proper discharge
             of the President’s constitutional responsibilities[,]” and the
             privilege “should not be used to shield * * * information that
             reflects a clear and apparent effort to subvert the Constitution.”
             First Remus Ltr., J.A. 108; see also Second Remus Ltr., J.A.
             113; Third Remus Ltr., J.A. 173–174.

                  The record also shows that, for the documents over which
             the former President asserted privilege, President Biden and his
             staff took at least a month to review each tranche. See J.A.
             125–128. During that time, former President Trump’s views
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                                            40
             were obtained. J.A. 13. In addition, the sitting President and
             the Committee reached compromises under which the
             Committee deferred its request for some documents. J.A. 128,
             176.

                  On this record, we cannot credit the former President’s
             argument that President Biden’s calibrated judgment is merely
             “the whim[] of [a] sitting President who may be unable [to] see
             past his own political considerations.” Appellant Opening Br.
             17. Indeed, President Biden’s care to limit his decision to the
             particular documents that “shed light on events within the
             White House on and about January 6[,]” First Remus Ltr., J.A.
             107; see also Second Remus Ltr., J.A. 113; Third Remus Ltr.,
             J.A. 173–174, bears no resemblance to the “broad and limitless
             waiver” of executive privilege former President Trump decries,
             Appellant Opening Br. 35.

                  That is not to say, of course, that an incumbent President
             must provide a written explanation for a former President’s
             claim of privilege to fail. In Nixon v. GSA, the incumbent
             President had not provided such an explanation, but instead had
             simply chosen to defend the facial constitutionality of the
             Preservation Act in court. See 443 U.S. at 441. And in
             Dellums, the incumbent was silent as to privilege. 561 F.2d at
             247.

                  Still, when the head of the Executive Branch lays out the
             type of thoroughgoing analysis provided by President Biden,
             the scales tilt even more firmly against the contrary views of
             the former President. For Article III courts are generally ill-
             equipped to superintend or second guess the expert judgment
             of the sitting President about the current needs of the Executive
             Branch and the best interests of the United States on matters of
             such gravity and so squarely within the President’s Article II
             discretion.
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                                            41
                  President Biden’s explanation also makes clear that his
             decision respects and preserves the strong constitutional
             reasons for executive privilege at the heart of the former
             President’s objection. Here, the letter shows that President
             Biden’s judgment is of a piece with decisions made by other
             Presidents to waive privilege in times of pressing national need.
             For example, President Nixon decided that executive privilege
             would “not be invoked as to any testimony concerning * * *
             discussions of possible criminal conduct” as part of the Senate
             Select Committee’s investigation of Watergate. Statements
             About the Watergate Investigations, 1973 PUB. PAPERS 547,
             554 (May 22, 1973). During congressional investigations into
             the Iran-Contra affair, President Reagan authorized testimony
             and the production of documents, including excerpts from his
             personal diaries. See REPORT OF THE CONGRESSIONAL
             COMMITTEES INVESTIGATING THE IRAN-CONTRA AFFAIR, H.R.
             REP. No. 100-433, S. REP. No. 100-216, at xvi (1987). In the
             aftermath of the September 11th attacks, President Bush and
             Vice President Richard Cheney sat for a more than three-hour
             interview with the commission investigating the attacks.13 And
             President Trump himself chose not to invoke privilege to
             prevent former FBI Director James Comey from testifying
             before Congress, despite (borne out) expectations that the
             testimony would include Comey’s recollections of confidential
             conversations with President Trump.14


                 13
                     Philip Shenon & David E. Sanger, Bush & Cheney Tell 9/11
             Panel of ’01 Warnings, N.Y. TIMES (April 30, 2004),
             https://perma.cc/QD2N-MAVX; see NATIONAL COMM’N ON
             TERRORIST ATTACKS UPON THE UNITED STATES, THE 9/11
             COMMISSION REPORT, at xv (2004).
                 14
                     Peter Baker, Trump Will Not Block Comey From Testifying,
             White House Says, N.Y. TIMES (June 5, 2017),
             https://perma.cc./B93T-8STK.
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                                            42
                  In short, President Biden’s considered judgment that the
             interests of the United States and the interests of the Executive
             Branch favor disclosure in this instance substantially “detracts
             from the weight of” former President Trump’s contrary
             privilege contention. Nixon v. GSA, 433 U.S. at 449.

                                            b

                  Also countering former President Trump’s claim is
             Congress’s uniquely weighty interest in investigating the
             causes and circumstances of the January 6th attack so that it
             can adopt measures to better protect the Capitol Complex,
             prevent similar harm in the future, and ensure the peaceful
             transfer of power. The Presidential Records Act requires that
             the January 6th Committee show that presidential records are
             “needed for the conduct of its business[.]” 44 U.S.C.
             § 2205(2)(C). The Committee has comfortably met that
             standard here.

                  The very essence of the Article I power is legislating, and
             so there would seem to be few, if any, more imperative interests
             squarely within Congress’s wheelhouse than ensuring the safe
             and uninterrupted conduct of its constitutionally assigned
             business. Here, the House of Representatives is investigating
             the single most deadly attack on the Capitol by domestic forces
             in the history of the United States. Lives were lost; blood was
             shed; portions of the Capitol building were badly damaged; and
             the lives of members of the House and Senate, as well as aides,
             staffers, and others who were working in the building, were
             endangered. They were forced to flee, preventing the
             legislators from completing their constitutional duties until the
             next day.

                  The January 6th Committee has also demonstrated a sound
             factual predicate for requesting these presidential documents
             specifically. There is a direct linkage between the former
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                                            43
             President and the events of the day. Then-President Trump
             called for his supporters to gather in Washington, D.C. for a
             “wild” response to what he had been alleging for months was a
             stolen election.       Donald Trump (@realDonaldTrump),
             TWITTER (Dec. 19, 2020, 1:42 AM). On January 6th, President
             Trump directed his followers to go to the Capitol and “fight”
             for their Country with the aim of preventing Congress’s
             certification of the electoral vote. January 6th Rally Speech at
             3:47:20 (“[Y]ou’ll never take back our country with weakness.
             * * * We have come to demand that Congress do the right thing
             and only count” certain electors.), 4:41:28.

                  The White House is also the hub for intelligence about
             threats of violent action against the government, and the
             Executive Branch is in charge of federal law enforcement and
             mobilizing the National Guard to defend the Capitol. See U.S.
             CONST. Art. II, § 2, cl. 1; D.C. Code § 49-409. So information
             from within the White House is critical to understanding what
             intelligence failures led the government to be underprepared
             for such a violent attack, and what can be done to expedite the
             mobilization of law enforcement forces in a crisis on Capitol
             Hill going forward. H.R. Res. 503 § 4(a)(2)(A)–(B), (c).
             Given all of that, the Committee has sound reasons for seeking
             presidential documents in particular as part of its investigation
             into the causes of the attack on the Capitol.

                  The Supreme Court’s decision in Nixon v. GSA makes
             clear that Congress’s interests go far in outweighing the former
             President’s privilege claim. In Nixon v. GSA, the Court found
             a “substantial public interest[]” in “Congress’ need to
             understand how those political processes [in the Watergate
             scandal] had in fact operated in order to g[au]ge the necessity
             for remedial legislation” and “to restore public confidence in
             our political processes[.]” 433 U.S. at 453. In that way, the
             Court explained, Congress’s efforts to preserve and afford
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                                            44
             access to presidential records “may be thought to aid the
             legislative process and thus to be within the scope of Congress’
             broad investigative power[.]”         Id.    These “important”
             congressional interests in coming to terms with the Watergate
             scandal supported the Court’s conclusion that the former
             President’s claims of executive privilege “must yield[.]” Id. at
             454.

                  So too here, the January 6th Committee’s access to the
             requested materials is vital to Congress’s own evaluation of
             whether the process for transferring power between
             administrations is “characterized by deficiencies susceptible of
             legislative correction[,]” Nixon v. GSA, 433 U.S. at 499
             (Powell, J., concurring).

                  Keep in mind that the “presumptive privilege” for
             presidential communications “must be considered in light of
             our historic commitment to the rule of law.” United States v.
             Nixon, 418 U.S. at 708. In United States v. Nixon, the particular
             component of the rule of law that overcame a sitting President’s
             assertion of executive privilege was the “right to every
             [person]’s evidence” in a criminal proceeding. Id. at 709
             (quoting Branzburg v. Hayes, 408 U.S. 665, 688 (1972)).
             Allowing executive privilege to prevail over that principle
             would have “gravely impair[ed] the basic function of the
             courts.” Id. at 712.

                  An equally essential aspect of the rule of law is the
             peaceful transition of power, and the constitutional role
             prescribed for Congress by the Twelfth Amendment in
             verifying the electoral college vote. To allow the privilege of
             a no-longer-sitting President to prevail over Congress’s need to
             investigate a violent attack on its home and its constitutional
             operations would “gravely impair the basic function of the”
             legislature. United States v. Nixon, 418 U.S. at 712.
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                                            45
                                            c

                   Weighing still more heavily against former President
             Trump’s claim of privilege is the fact that the judgment of the
             Political Branches is unified as to these particular documents.
             President Biden agrees with Congress that its need for the
             documents at issue is “compelling[,]” and that it has a
             “sufficient factual predicate” for requesting them. First Remus
             Ltr., J.A. 107; see also Third Remus Ltr., J.A. 173. As a result,
             blocking disclosure would derail an ongoing process of
             accommodation and negotiation between the President and
             Congress, and instigate an interbranch dispute.

                  The Supreme Court has emphasized the importance of
             courts deferring to information-sharing agreements wrestled
             over and worked out between Congress and the President. See
             Mazars, 140 S. Ct. at 2029, 2031. Historically, “disputes over
             congressional demands for presidential documents have not
             ended up in court[,]” but rather “have been hashed out in the
             ‘hurly-burly, the give-and-take of the political process between
             the legislative and the executive,’” id. at 2029 (citation and
             internal quotation marks omitted), generally allowing the
             courts to avoid being drawn into the power struggle. That
             “hurly-burly” is a flexible, dynamic process that could involve
             interlocking and contingent negotiations over multiple
             different requests for information, the President’s legislative
             priorities, nominations and confirmations, and the many other
             complementary and competing interests and responsibilities of
             those two Branches.

                  In that “tradition of negotiation and compromise[,]” the
             Executive and Legislative Branches have reached an
             accommodation here. Mazars, 140 S. Ct. at 2031. President
             Biden and Congress have come to an agreement that the
             pressing needs of the January 6th Committee and the interests
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                                           46
             of the United States warrant a limited disclosure of the
             documents for which privilege has been asserted. That
             arrangement reflects give-and-take, as the Committee agreed to
             defer its request for fifty pages of responsive records from the
             second and third tranches. J.A. 170, 176.

                  Former President Trump states that he too was engaged in
             negotiations with the White House. But he abruptly stopped
             them when the decision to release documents from the first
             tranche was made. Compl. ¶¶ 15–16, J.A. 13–15. And even
             though, in the past, committees have sometimes “agreed to
             restrictions on the type of access provided” to privileged
             documents, such as “read-only access or committee-
             confidential restrictions[,]” Laster Decl., J.A. 124, former
             President Trump makes no showing of having requested such
             restrictions from the Committee or White House, and his
             counsel admitted that he did not propose a more limited
             injunction along those lines, see Oral Arg. Tr. 36–37.

                  In short, confronting former President Trump’s claim of
             privilege is the hydraulic constitutional force of not only a
             reasoned decision by the President that a limited release is in
             the interests of the United States, and the uniquely compelling
             need of Congress for this information, but also this court’s
             “duty of care to ensure that we not needlessly disturb ‘the
             compromises and working arrangements that those [Political]
             branches themselves have reached.’” Mazars, 140 S. Ct. at
             2031 (formatting modified; quoting NLRB v. Noel Canning,
             573 U.S. 513, 524–526 (2014)).

                                            2

                 That accumulation of forces favoring disclosure is at least
             equal to, if not greater than, what has supported the disclosure
             of the privileged materials of even a sitting President. To
             establish a likelihood of success in prevailing, then, former
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                                            47
             President Trump bears the burden of at least showing some
             weighty interest in continued confidentiality that could be
             capable of tipping the scales back in his favor, and of “mak[ing]
             particularized showings in justification of his claims of
             privilege[.]” Senate Select Comm., 498 F.2d at 730. He has
             not done so. He has not identified any specific countervailing
             need for confidentiality tied to the documents at issue, beyond
             their being presidential communications. Neither has he
             presented arguments that grapple with the substance of
             President Biden’s and Congress’s weighty judgments. Nor has
             he made even a preliminary showing that the content of any
             particular document lacks relevance to the Committee’s
             investigation. He offers instead only a grab-bag of objections
             that simply assert without elaboration his superior assessment
             of Executive Branch interests, insists that Congress and the
             Committee have no legitimate legislative interest in an attack
             on the Capitol, and impugns the motives of President Biden and
             the House. That falls far short of meeting his burden and makes
             it impossible for this court to find any likelihood of success.

                                            a

                  Because Mr. Trump has sued solely in his “official
             capacity” as the “45th President of the United States[,]” Compl.
             ¶ 20, J.A. 16, he does not assert that disclosure of the
             documents before us would harm any personal interests in
             privacy or confidentiality. His sole objection is that disclosure
             would “burden[] the presidency generally[,]” in light of the
             need for “candid advice” and the potential for a “chilling
             effect[.]” Appellant Opening Br. 29. In support of this claim,
             he presses the undisputed points that the confidentiality of
             presidential communications protects “the proper functioning
             of the government” and “ensure[s] full and frank advice” for
             future Presidents. Appellant Opening Br. 14, 36.
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                   That is all he offers. And that is not close to enough.
             When a former and incumbent President disagree about the
             need to preserve the confidentiality of presidential
             communications, the incumbent’s judgment warrants
             deference because it is the incumbent who is “vitally concerned
             with and in the best position to assess the present and future
             needs of the Executive Branch[.]” Nixon v. GSA, 433 U.S. at
             449. Mr. Trump’s disagreement with President Biden’s
             judgment, by itself, provides the court no basis to override the
             sitting President’s judgment.

                  Nor is such a “generalized interest in confidentiality,”
             United States v. Nixon, 418 U.S. at 711, sufficient for a court
             to cast aside the January 6th Committee’s exercise of core
             legislative functions, let alone enough for a court to throw a
             wrench into the ongoing working relationship and
             accommodations between the Political Branches.15

                  Former President Trump’s bare allegations of partisan
             motives do not move the needle either. See Appellant Opening
             Br. 3, 5–6, 15–17, 21–22, 35, 47; Appellant Reply Br. 1–2, 5–
             8, 11, 19, 25–27, 32; Prelim. Inj. Mem. at 1–4, 8, 17, 33–34.
             They are unsupported by any plausible factual allegations and
             cannot stand up to President Biden’s substantive explanation
             for not asserting privilege and Congress’s distinct interest in
             investigating and legislating in response to an attack on itself.
             To that same point, the presumption of executive regularity
             “has been recognized since the early days of the Republic.”

                  15
                    The former President makes a vague reference to presidential
             discussions during the COVID pandemic in early 2020. See
             Appellant Opening Br. 46. But he makes no argument that any of
             the documents at issue here involved that topic. Nor is it at all
             apparent that the Archivist would treat such communications as
             responsive to the Committee’s request, or that President Biden would
             decline to assert executive privilege over them.
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             American Fed’n of Gov’t Employees v. Reagan, 870 F.2d 723,
             727 (D.C. Cir. 1989). When, as here, “the President exercises
             an authority confided to him by law, the presumption is that it
             is exercised in pursuance of law.” Id. (quoting Martin v. Mott,
             25 U.S. (12 Wheat.) 19, 32–33 (1827)) (alteration in original).

                  Former President Trump predicts that, going forward,
             incumbent Presidents will indiscriminately decline to assert
             executive privilege over a former President’s records whenever
             they are of the opposite political party. See Appellant Opening
             Br. 47. But the possibility of mutually assured destruction of
             the privilege cuts against the risk of heedless disclosures.

                  More to the point, the greatest protection for executive
             privilege is the natural self-interest of each new occupant of the
             White House. Presidents of both parties have long jealously
             guarded the powers and prerogatives of the office. And every
             incumbent President will be the next former President. That
             gives the incumbent every incentive to afford robust protection
             to the confidentiality of presidential communications, even if
             only to assure receipt of the best possible advice during his or
             her tenure. See Nixon v. GSA, 433 U.S. at 448 (“[A]n
             incumbent may be inhibited in disclosing confidences of a
             predecessor when he believes that the effect may be to
             discourage candid presentation of views by his contemporary
             advisers.”). There are, in other words, “obvious political
             checks against an incumbent’s abuse of the privilege.” Id.

                 Former President Trump next speculates about certain
             communications for which the interests against disclosure
             could extend beyond a generalized interest in confidentiality,
             such as communications concerning “complex and sensitive
             matters of foreign affairs.” Appellant Opening Br. 46.

                  The problem is that he has not pointed to a single record
             in the existing tranches that implicates a delicate matter of
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                                              50
             foreign affairs or other “complex and sensitive” topics.
             Appellant Opening Br. 46. He also puts the cart before the
             horse. For even if the Archivist later were to conclude that such
             a document was responsive to the Committee’s request, it
             “must be presumed” that the sitting President would factor a
             document’s sensitivity, foreign policy or otherwise, into a
             future decision whether to assert executive privilege. Nixon v.
             GSA, 433 U.S. at 449.16

                                              b

                 Rather than articulate any superseding interest in
             confidentiality, former President Trump argues that the courts
             are obligated to comb through every single document in
             camera to evaluate its privileged nature before it is released.
             Appellant Opening Br. 38–39; Appellant Reply Br. 14–15.
             Not so.

                 First of all, in briefing and at oral argument, counsel for
             former President Trump was inconsistent in explaining his
             request for in camera review. See Appellant Opening Br. 38–

                  16
                      Anyhow, given the Article III courts’ general “lack of
             competence” in matters of national security policy, Holder v.
             Humanitarian Law Project, 561 U.S. 1, 34 (2010) (internal quotation
             marks and citations omitted), former President Trump does not
             explain how a court could override the sitting President’s judgment
             that release of a document does not imperil, or perhaps advances,
             foreign relations. See also id. at 34 (“[N]either the Members of this
             Court nor most federal judges begin the day with briefings that may
             describe new and serious threats to our Nation and its people.”)
             (quoting Boumediene v. Bush, 553 U.S. 723, 797 (2008)); cf.
             Marbury v. Madison, 5 U.S. (1 Cranch) 137, 166 (1803) (Presidential
             decisions that implicate “foreign affairs” are “entrusted to the
             executive, [and] the decision of the executive is conclusive”).

                  .
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             39; Appellant Reply Br. 14–15; Oral Arg. Tr. 62:18–63:7,
             65:1–6. To the extent that the former President proposes that
             the court determine whether each document constitutes a
             privileged presidential communication, that would be a
             meaningless exercise. See Oral Arg. Tr. 62:19–23. President
             Biden does not dispute that the particular documents at issue
             qualify for executive privilege. He instead has made the
             deliberate decision not to invoke that privilege. Therefore, the
             issue in this case is not whether executive privilege could be
             asserted for each document. It is whether a court can override
             President Biden’s reasoned decision to forgo privilege as to
             them and Congress’s compelling need for them. So even if the
             court were to examine each document in camera and determine
             that every single one is privileged, we would simply end up
             right back where we started.

                  If what former President Trump means instead is that the
             court should hunt through the documents in an effort to espy
             important reasons why President Biden’s decision might be ill-
             advised, he gets the law backwards. See Oral Arg. Tr. 65:1–6.
             Having asserted the importance of confidentiality in these
             documents based on his expert viewpoint as the President
             during whose term they were created, former President Trump
             had the burden of articulating some compelling explanation for
             nondisclosure to the court. He cannot stand silent and leave it
             to the court to come up with arguments for him.

                 Former President Trump insists that “[i]t is vital the
             Court’s analysis be specific[.]” Appellant Reply Br. 16. Our
             analysis can only be as specific as his claims are.

                                            c

                 Having provided nothing to surmount President Biden’s
             considered judgment, former President Trump pivots to
             arguing that the January 6th “Committee lacks a specific need
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             for the requested information,” Appellant Opening Br. 16, and
             so its disclosure violates the separation of powers.

                   Former President Trump sets forth several formulations of
             the test he believes this court should apply, all of which require
             that the January 6th Committee do more than meet its burden
             under the Presidential Records Act to show that the requested
             documents are “needed for the conduct of its business” and
             “not otherwise available[,]” 44 U.S.C. § 2205(2)(C). Most
             prominently, he argues that disclosure is forbidden under the
             four-factor test laid out in Mazars. Appellant Opening Br. 16,
             18–20, 23–31; Appellant Reply Br. 21–24, 27–28. At other
             times, he invokes Senate Select Committee’s requirement that
             the documents be “demonstrably critical to the responsible
             fulfillment of the Committee’s functions.” Appellant Opening
             Br. 22–23 (quoting Senate Select Comm., 498 F.2d at 731).
             Later, he claims that the Committee must make the
             “demonstrated and specific showing of need” that was required
             in United States v. Nixon. Appellant Opening Br. 35 (citing
             United States v. Nixon, 418 U.S. at 713).

                   We have significant doubt that any of these tests are
             appropriate in the context of a former President’s challenge to
             the joint decision of an incumbent President and the Legislative
             Branch that disclosure is warranted. All of the cases on which
             Mr. Trump relies involved requests for information from a
             sitting President, not a former President, and called upon the
             courts to resolve an interbranch dispute. The Mazars test, for
             example, was expressly tied to “special concerns regarding the
             separation of powers” that arise when the “legislative interests
             of Congress” clash with the “unique position of the
             President[.]” Mazars, 140 S. Ct. at 2035–2036 (internal
             quotation marks and citation omitted); cf. United States v.
             Nixon, 418 U.S. at 686 (addressing a judicial subpoena issued
             to a sitting President); Senate Select Comm., 498 F.2d at 726
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                                            53
             (addressing a congressional subpoena issued to a sitting
             President). Those separation of powers concerns necessarily
             have less traction when the request is for records from a former
             administration, since the objecting former President no longer
             occupies the “unique position of the President,” Mazars, 140
             S. Ct. at 2035 (internal quotation marks and citation omitted).
             And they have less salience when the Political Branches are in
             agreement. Cf. Youngstown Sheet & Tube Co. v. Sawyer, 343
             U.S. 579, 635 (1952) (Jackson, J., concurring).

                  If anything, Nixon v. GSA would seem to be more closely
             on point, because it specifically involved a former President’s
             objection, over the contrary positions of the incumbent
             President and Congress, to the Executive Branch taking
             possession of and reviewing his presidential records. There,
             the Supreme Court ruled that an “important” congressional
             purpose overcame the former President’s privilege claim when,
             as here, the incumbent President supported the disclosure.
             Nixon v. GSA, 433 U.S. at 454; see id. at 443 (“Only where the
             potential for disruption is present must we then determine
             whether that impact is justified by an overriding need to
             promote objectives within the constitutional authority of
             Congress.”). Congress’s interest in investigating the January
             6th attack on the Capitol and obtaining information to allow
             meaningful legislation easily rises to the level of “important.”

                  To be sure, Nixon v. GSA did not involve a direct
             document request by Congress. But neither did former
             President Nixon ask the Court to disrupt an ongoing
             accommodation and negotiation process between the Political
             Branches—a process that courts historically have stayed out of.

                  Regardless, even assuming they apply, the legislative
             interest at stake passes muster under any of the tests pressed by
             former President Trump.
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                                            54
                                            (i)

                  As for the Mazars test, the January 6th Committee plainly
             has a “valid legislative purpose” and its inquiry “concern[s] a
             subject on which legislation could be had.” Mazars, 140 S. Ct.
             at 2031–2032 (internal quotation marks and citations omitted).
             In fact, House Resolution 503 expressly authorizes the
             Committee to propose legislative measures. H.R. Res. 503
             § 4(a)(3). For example, Congress could (1) pass laws imposing
             more serious criminal penalties on those who engage in
             violence to prevent the work of governmental institutions; (2)
             amend the Electoral Count Act to shore up the procedures for
             counting electoral votes and certifying the results of a
             presidential election; (3) allocate greater resources to the
             Capitol Police and enact legislation to “elevat[e] the security
             posture of the United States Capitol Complex,” id.
             § 4(a)(2)(D); or (4) revise the federal government’s
             “operational plans, policies, and procedures” for “responding
             to targeted violence and domestic terrorism[,]” id. § 4(a)(2)(B),
             J.A. 97.

                  Former President Trump argues that the Committee has an
             “improper law enforcement purpose[,]” Appellant Opening Br.
             21, because its request constitutes an effort to “try” him “for
             * * * wrongdoing[,]” Appellant Opening Br. 21 (quoting
             McGrain, 273 U.S. at 179). Not at all. The Committee’s
             announced purpose is to “issue a final report to the House
             containing such findings, conclusions, and recommendations”
             for such “changes in law, policy, procedures, rules, or
             regulations” as the Committee “may deem necessary[.]” H.R.
             Res. 503 § 4(a)(3), (c). The Committee’s request to the
             Archivist reiterates that it “seeks to * * * recommend laws,
             policies, procedures, rules, or regulations necessary to protect
             our Republic in the future.” Thompson Ltr., J.A. 33. The mere
             prospect that misconduct might be exposed does not make the
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                                            55
             Committee’s request prosecutorial. Missteps and misbehavior
             are common fodder for legislation.

                  Mazars also requires that the “asserted legislative purpose
             warrant[] the significant step of involving the President and his
             papers.” 140 S. Ct. at 2035. As President Biden stated, the
             January 6th Committee has a “sufficient factual predicate” for
             obtaining these presidential records, First Remus Ltr., J.A. 107,
             because of the President’s direct role in rallying his supporters,
             directing them to march to the Capitol, see January 6th Rally
             Speech at 3:47:02–3:47:21, and propagating the underlying
             false narrative of election fraud. The House has also presented
             evidence indicating that, leading up to January 6th, individuals
             encouraging “dramatic action” on that day were in frequent
             contact with the White House. See H.R. REP. NO. 117-152,
             117th Cong., 1st Sess. 6 (2021). And as the Commander-in-
             Chief and Chief Law Enforcement Officer on January 6th,
             President Trump had control over the sharing of any
             intelligence concerning a potential riot and, once the mob
             attacked, the decision to deploy (or not) the National Guard and
             other federal law enforcement resources to quell the riot.

                  For those reasons, Congress’s request for records
             “adequately identifies its aims and explains why the President’s
             information will advance its consideration of the possible
             legislation.” Mazars, 140 S. Ct. at 2036. It has provided
             “detailed and substantial” evidence of its legislative purpose,
             id., and its specific need for presidential records in House
             Resolution 503, the Committee’s letter to the Archivist, public
             reports, and public statements made by members of the
             Committee. See H.R. Res. 503; Thompson Ltr., J.A. 33–44;
             H.R. REP. NO. 117-152; 167 CONG. REC. H5759 (daily ed. Oct.
             21, 2021) (statement of Rep. Liz Cheney).
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                                            56
                   Nor does Congress have a viable alternative source for this
             critical information. See 44 U.S.C. § 2205(2)(C). As President
             Biden agreed, the January 6th Committee has shown that these
             presidential documents specifically are necessary for the
             Committee’s work. Former President Trump has made no
             showing that the Committee already has access to information
             about what administration officials knew about the January 6th
             attack, when they knew it, what actions they took in response,
             and how their actions might have affected the events of that
             day. Nor has he demonstrated that the Committee could obtain
             this same type of information from another source. The
             information sought pertains to the activities of former President
             Trump and White House staff in “carrying out the * * * duties
             of the President” on and around January 6, and those records
             are exclusively within the control of the Archivist, 44 U.S.C.
             §§ 2201(2), 2202.

                  For similar reasons, former President Trump’s claim that
             the Committee is improperly using him as a “‘case study’ for
             general legislation” fails. Mazars, 140 S. Ct. at 2036 (citation
             omitted). The Committee is investigating a singular event in
             this nation’s history, in which there is a sufficient factual
             predicate for inferring that former President Trump and his
             advisors played a materially relevant role.

                  Mr. Trump’s argument that the January 6th Committee’s
             request to the Archivist is “broader than reasonably necessary
             to support Congress’s legislative objective[,]” Mazars, 140
             S. Ct. at 2036, does not work either. He has made no claim that
             the documents at issue in this appeal are not relevant to the
             Committee’s purpose or that a request capturing those
             documents is overbroad. Nor could he. All of the documents
             currently at issue pertain to presidential activities on or around
             January 6th, or surrounding the election and its aftermath.
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                                             57
                  If forthcoming tranches contain records that Mr. Trump
             claims are unmoored from the Committee’s objectives, he can
             attempt to raise an overbreadth challenge then. But that dispute
             may never arise. The Archivist will winnow out any
             documents that are not responsive or that are not “Presidential
             records[,]” 44 U.S.C. § 2205(2), such as those that are “strictly
             personal” or “strictly campaign-related[,]” J.A. 275 (counsel
             for the Executive Branch advising district court that such
             documents would not be “appropriate for production”).

                  More to the point, President Biden could very well agree
             to assert executive privilege if aspects of the document request
             were to overreach the “unique and extraordinary
             circumstances” that underlay his waiver of privilege for these
             documents. First Remus Ltr., J.A. 108; see also Second Remus
             Ltr., J.A. 113; Third Remus Ltr., J.A. 173–174. Or he could
             work with Congress to withdraw its request for those
             documents as part of the accommodation process.

                  In short, the “congressional power of inquiry * * * [and]
             the right of resistance to it are to be judged in the concrete, not
             on the basis of abstractions.” Barenblatt v. United States, 360
             U.S. 109, 112 (1959). Former President Trump’s speculation
             about possible problems with possible future disclosures does
             nothing to establish a likelihood of success as to these
             documents actually slated for disclosure.

                  Lastly, Mazars requires that we “carefully scrutinize[]”
             any “burdens on the President’s time and attention” imposed
             by the request for information. 140 S. Ct. at 2036. “[I]n
             determining whether [a challenged act] disrupts the proper
             balance between the coordinate branches” in that way, the
             “proper inquiry focuses on the extent to which it prevents the
             Executive Branch from accomplishing its constitutionally
             assigned functions.” Nixon v. GSA, 433 U.S. at 443. In this
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             case, President Biden has determined that, thus far, the time
             and effort required of him and his staff is within reasonable
             bounds and consonant with the grave matters before the
             January 6th Committee.

                  Former President Trump argues that the large number of
             potentially responsive records, combined with the limited
             amount of time he has to review the records for privileged
             materials, imposes a significant burden on him personally.
             Appellant Opening Br. 29. But a former President is “in less
             need of” a shield “against burdensome requests for
             information” because requiring a former President to respond
             to a request does not directly implicate the interests of the
             Executive Branch or distract the President from executing his
             constitutional functions. Nixon v. GSA, 433 U.S. at 448.

                  Still, if there were no limits to Congress’s ability to drown
             a President in burdensome requests the minute he leaves office,
             Congress could perhaps use the threat of a post-Presidency
             pile-on to try and influence the President’s conduct while in
             office. But once again, former President Trump has made no
             showing that he has been saddled with anything close to such a
             daunting burden. The Archivist is the one who bears the
             burden of searching for responsive records. The records he has
             found have been separated into manageably sized tranches for
             Mr. Trump’s review, which diffuses any burden. And former
             President Trump has alleged no actual difficulty completing his
             review of the tranches within the allotted timeframes thus far.
             If he were to need more time, he could simply request an
             extension from the Archivist. See 36 C.F.R. § 1270.44(g)
             (“The Archivist may adjust any time period or deadline under
             this subpart, as appropriate, to accommodate records requested
             under this section.”). In fact, the Archivist has provided
             additional time for review once already. J.A. 127. Were the
             burden to become unduly demanding at some point in the
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             future, it could very well be that President Biden—who is
             simultaneously juggling all manner of presidential
             responsibilities—would object, to the benefit of former
             President Trump. Indeed, the previous extension was initiated
             by President Biden and afforded to him and former President
             Trump alike. J.A. 127.

                 At the end of the day, the Mazars test is of no help to
             former President Trump’s effort to demonstrate a likelihood of
             success in invalidating the January 6th Committee’s request.

                                            (ii)

                 For those same reasons, the Committee’s request for these
             records readily satisfies the other tests that the former President
             proposes.

                   In Senate Select Committee, this court concluded that
             evidence subpoenaed from the sitting President was not
             “demonstrably critical” because the House Committee on the
             Judiciary already had access to all of the tapes sought by the
             Select Committee. 498 F.2d at 731–732. Former President
             Trump, by contrast, has made no showing that the records at
             issue here are already within the possession of another
             committee of the House or Senate. As such, the Committee’s
             efforts would not be “merely cumulative[,]” and the records
             remain “demonstrably critical[,]” id., to its task of investigating
             the January 6th attack.

                  In United States v. Nixon, the Court held that President
             Nixon’s “generalized assertion of privilege” had to “yield to
             the demonstrated, specific need for evidence in a pending
             criminal trial.” 418 U.S. at 713. Here, the Committee has—as
             President Biden agrees—demonstrated a specific and
             compelling need for these presidential records because they
             provide a unique and critically important window into the
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             events of January 6th that the Committee cannot obtain
             elsewhere.

                                              d

                 The former President’s remaining arguments do not help
             his case.

                 He argues that the Committee has not been authorized by
             the full House to request a former President’s records. See
             Appellant Opening Br. 32–33. That is wrong. House
             Resolution 503 expressly states that “Rule XI of the Rules of
             the House of Representatives shall apply to the Select
             Committee[,]” with exceptions not relevant here. H.R. Res.
             503 § 5(c). And House Rule XI provides that “[s]ubpoenas for
             documents or testimony may be issued to * * * the President,
             and the Vice President, whether current or former, in a personal
             or official capacity, as well as the White House, the Office of
             the President, the Executive Office of the President, and any
             individual currently or formerly employed in the White House,
             Office of the President, or the Executive Office of the
             President[.]” House Rule XI.2(m)(3)(D).

                  Mr. Trump argues in his reply brief, for the first time in this
             litigation, that the Presidential Records Act confines an
             incumbent President to deciding only the “legal correctness” of
             the former President’s privilege claim, without any ability to
             make a determination as to whether an assertion of privilege is
             in the best interests of the United States. Appellant Reply Br.
             10–11. Former President Trump forfeited this statutory
             argument by failing to raise it before the district court and
             before this court in his opening brief. See American Wildlands
             v. Kempthorne, 530 F.3d 991, 1001 (D.C. Cir. 2008) (stating
             that issues not argued in the opening brief are forfeited on
             appeal); Roosevelt v. E.I. Du Pont de Nemours & Co., 958 F.2d
             416, 419 & n.5 (D.C. Cir. 1992) (Absent exceptional
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             circumstances, “it is not our practice to entertain issues first
             raised on appeal[.]”). Principles of constitutional avoidance
             further counsel against entertaining, without adversarial
             briefing, the notion that a statute shuts the sitting President out
             of any meaningful role in an exercise of executive privilege
             over Executive Branch documents in response to a
             congressional request. See Burke, 843 F.2d at 1479 (citing
             Nixon v. GSA, 433 U.S. at 449).

                 Lastly, former President Trump argues that, to the extent
             the Presidential Records Act is construed to give the incumbent
             President “unfettered discretion to waive former Presidents’
             executive privilege,” it is unconstitutional. Appellant Opening
             Br. 47. There is nothing “unfettered” about President Biden’s
             calibrated judgment in this case.

                 Anyhow, the Presidential Records Act is explicit that
             “[n]othing in [the] Act shall be construed to confirm, limit, or
             expand any constitutionally-based privilege which may be
             available to an incumbent or former President.” 44 U.S.C.
             § 2204(c)(2). Therefore, the Presidential Records Act gives the
             incumbent President no more power than the Constitution
             already does. And under the Constitution, the incumbent
             President does not have “unfettered discretion” to release
             records over a former President’s objection given the former
             President’s opportunity to obtain judicial review of his
             privilege claim. See Nixon v. GSA, 433 U.S. at 439.

                 The problem for Mr. Trump is not that the Constitution
             affords him no say in the matter. It is his failure to make any
             relevant showing of a supervening interest in confidentiality
             that might be capable of overcoming President Biden’s
             considered and weighty judgment that Congress’s imperative
             need warrants the disclosure of these documents specifically
             tied to the investigation of the events of January 6th.
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                   One factor cutting in former President Trump’s favor is
             that these records are being sought so soon after his Presidency
             ended. In Nixon v. GSA, the Court explained that the
             “confidentiality of executive communications” does not
             dissipate as soon as a President’s term ends. Rather, it is
             “subject to erosion over time after an administration leaves
             office.” 433 U.S. at 451. Here, less than a year has passed
             since Mr. Trump left office.

                  But the former President does not make this argument. He
             only makes an unelaborated reference to the fact of the timing
             in his opening brief. See Appellant Opening Br. 36. In this
             court, “mentioning an argument in the most skeletal way,
             leaving the court to do counsel’s work, create the ossature for
             the argument, and put flesh on its bones is tantamount to failing
             to raise it.” Maloney v. Murphy, 984 F.3d 50, 68 (D.C. Cir.
             2020) (internal quotation marks and citation omitted). He
             certainly does not present the argument in a manner that gets
             him any closer to demonstrating a likelihood of success on the
             merits. That is especially so given Congress’s demonstrated
             need for the information now because it is investigating a last-
             ditch effort to thwart the peaceful transfer of power from
             former President Trump to President Biden. In light of the
             regularity of federal elections, we credit the Committee’s
             assertion that its work is “urgent[,]” Thompson Ltr., J.A. 33,
             as it seeks to understand the violence that marked the end of
             the last Presidency and to prevent any recurrence. First Remus
             Ltr., J.A. 107; see also Second Remus Ltr., J.A. 113; Third
             Remus Ltr., J.A. 173–174.17


                 17
                   At times, former President Trump’s briefing suggested that
             he was pressing a freestanding challenge to the statutory and
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                                               V

                Former President Trump has also failed to satisfy any of the
             remaining preliminary injunction factors.

                                               A

                 To obtain a preliminary injunction, former President
             Trump must show that the executive-privilege interests he
             seeks to vindicate will likely be irreparably harmed. See
             Winter, 555 U.S. at 20. Because Mr. Trump seeks this
             preliminary injunction solely in his “official capacity as a
             former President[,]” the only relevant injury would be one to
             the present and future interests of the Executive Branch itself
             in confidentiality, Compl. ¶ 20, J.A. 16. That is because the
             interest in confidentiality of presidential communications “is
             not for the benefit of the President as an individual, but for the
             benefit of the Republic.” Nixon v. GSA, 433 U.S. at 449
             (citation omitted). So the interests of the Executive Branch are
             the lens through which we view former President Trump’s
             concerns about vitiating the confidentiality that he relied upon
             “when the communications and records at issue were
             created[,]” Appellant Opening Br. 51, and his duty to “protect[]
             the records and communications created during [his] term of
             office,” Appellant Opening Br. 49.



             constitutional validity of the Committee’s request, separate and apart
             from his executive privilege claim. See, e.g., Appellant Opening Br.
             18; Appellant Reply Br. 1. But at oral argument, Mr. Trump’s
             counsel was explicit that he is not bringing such a challenge and that
             all of his arguments about the statutory and constitutional validity of
             the Committee request are part and parcel of his argument that the
             former President’s claim of executive privilege over the specific
             documents at issue here should prevail. See Oral Arg. Tr. 14:21–
             15:23.
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                                             64
                 The difficulty for Mr. Trump’s claim of irreparable harm is
             that President Biden has already determined that disclosure of
             the privileged documents in the first three tranches advances
             the interests of the Executive Branch and is affirmatively in the
             interests of the United States. Having weighed the interests of
             the privilege against the January 6th Committee’s compelling
             need for this information, President Biden made a deliberate
             decision to forgo executive privilege and to disclose the
             documents. Given the “unprecedented” attack on the Capitol
             and the tradition of peaceful transfers of power, as well as the
             “unique and extraordinary circumstances” precipitating and
             surrounding the attack, President Biden explained that “an
             assertion of executive privilege is not in the best interests of the
             United States[.]” First Remus Ltr., J.A. 107–108; see also
             Second Remus Ltr., J.A. 113; Third Remus Ltr., J.A. 173–174.

                 As between a former President and an incumbent, it “must
             be presumed” by a court that the incumbent President is “in the
             best position to assess the present and future needs of the
             Executive Branch” and to determine whether disclosure
             “impermissibly intrudes into the executive function[,]” Nixon
             v. GSA, 433 U.S. at 449, or otherwise will “prevent[] the
             Executive Branch from accomplishing its constitutionally
             assigned functions,” id. at 443.

                 To be sure, executive privilege is vital to the effective
             operations of the Presidency. See United States v. Nixon, 418
             U.S. at 708. But it is a qualified privilege that has been waived
             by Presidents—including by President Trump—when they
             determined that the overriding interests of the Nation warranted
             it. See page 41, supra. The former President has not alleged
             or shown that such waivers irreparably harmed the operation of
             the Executive Branch or impaired his ability as President, or
             the ability of other Presidents, to obtain needed confidential
             advice.
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                 The uniqueness of the circumstances prompting disclosure
             here further mitigates any potential harm to the “full and frank”
             nature of presidential communications. Nixon v. GSA, 433 U.S.
             at 449 (citation omitted). Advisors of the President are unlikely
             to “be moved to temper the candor of their remarks” simply
             because of the “infrequent occasions” on which an event as
             unparalleled as January 6th might arise. United States v. Nixon,
             418 U.S. at 712.

                 Former President Trump argues that President Biden “lacks
             context and information concerning the documents in
             question” and “cannot fairly evaluate President Trump’s
             rights.” Appellant Opening Br. 51. But beyond that
             unelaborated assertion, Mr. Trump has made no record nor
             even hinted to this court what context or information has been
             overlooked or what information could override President
             Biden’s calculus. We cannot just presume it. Nor can we, on
             our own, hunt through the documents for sensitivities or
             concerns that have never been articulated by Mr. Trump. The
             former President no doubt begs to differ with President Biden’s
             judgment. But that difference of opinion by itself establishes
             no likelihood of irreparable harm to the Presidency or the
             interests protected by executive privilege.

                We acknowledge that irreparable injury is frequently found
             when a movant seeks to prevent the disclosure of privileged
             documents pending litigation. That is generally because the
             holders of the privileges will, themselves, be irreparably
             harmed by release, and time is not of the essence.

                 This case is materially different from the mine-run of
             privilege cases. The privilege being asserted is not a personal
             privilege belonging to former President Trump; he stewards it
             for the benefit of the Republic. The interests the privilege
             protects are those of the Presidency itself, not former President
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                                             66
             Trump individually. And the President has determined that
             immediate disclosure will promote, not injure, the national
             interest, and that delay here is itself injurious.18

                                              B

                 Mr. Trump argues that the Committee “would suffer no
             harm by delaying production while the parties litigate the
             request’s validity.” Appellant Opening Br. 52. We disagree.
             Both the public interest and the balance of hardships decidedly
             disfavor issuance of a preliminary injunction.

                 Even under ordinary circumstances, there is a strong public
             interest in Congress carrying out its lawful investigations,
             McGrain, 273 U.S. at 174, and courts must take care not to
             unnecessarily “halt the functions of a coordinate branch,”
             Eastland, 421 U.S. at 511 n.17.

                 That public interest is heightened when, as here, the
             legislature is proceeding with urgency to prevent violent
             attacks on the federal government and disruptions to the
             peaceful transfer of power. Importantly, the Supreme Court
             has instructed that Congress’s “desire to restore public
             confidence in our political processes” by “facilitating a full
             airing of the events leading to” such political crises constitutes
             a “substantial public interest[.]” Nixon v. GSA, 433 U.S. at 453.

                 Reinforcing that public interest, President Biden has
             concluded on behalf of the Executive Branch that disclosure is
             “in the best interests of the United States[.]” First Remus Ltr.,



                  18
                    Nor is an injunction necessary to preserve jurisdiction.
             Disclosure of these documents will not end the case as more tranches
             of documents are forthcoming. See also note 7, supra.
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                                            67
             J.A. 107; see also Second Remus Ltr., J.A. 113; Third Remus
             Ltr., J.A. 173–174.

                 Mr. Trump has not advanced any formulation of the public
             interest or balance of hardships that can overcome those
             weighty interests and concerns.

                                        *****

                 For all of the foregoing reasons, former President Trump
             has not shown that he is entitled to a preliminary injunction.

                 We do not come to that conclusion lightly. The
             confidentiality of presidential communications is critical to the
             effective functioning of the Presidency for the reasons that
             former President Trump presses, and his effort to vindicate that
             interest is itself a right of constitutional import.

                 But our Constitution divides, checks, and balances power
             to preserve democracy and to ensure liberty. For that reason,
             the executive privilege for presidential communications is a
             qualified one that Mr. Trump agrees must give way when
             necessary to protect overriding interests. See Oral Arg. Tr.
             33:18–21, 34:23–25. The President and the Legislative Branch
             have shown a national interest in and pressing need for the
             prompt disclosure of these documents.

                 What Mr. Trump seeks is to have an Article III court
             intervene and nullify those judgments of the President and
             Congress, delay the Committee’s work, and derail the
             negotiations and accommodations that the Political Branches
             have made. But essential to the rule of law is the principle that
             a former President must meet the same legal standards for
             obtaining preliminary injunctive relief as everyone else. And
             former President Trump has failed that task.
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                 Benjamin Franklin said, at the founding, that we have “[a]
             Republic”—“if [we] can keep it.”19 The events of January 6th
             exposed the fragility of those democratic institutions and
             traditions that we had perhaps come to take for granted. In
             response, the President of the United States and Congress have
             each made the judgment that access to this subset of
             presidential communication records is necessary to address a
             matter of great constitutional moment for the Republic. Former
             President Trump has given this court no legal reason to cast
             aside President Biden’s assessment of the Executive Branch
             interests at stake, or to create a separation of powers conflict
             that the Political Branches have avoided.

                 The judgment of the district court denying a preliminary
             injunction is affirmed.20



                                                                     So ordered.




                  19
                      PAPERS OF DR. JAMES MCHENRY ON THE FEDERAL
             CONVENTION OF 1787 (1787), in DOCUMENTS ILLUSTRATIVE OF
             THE FORMATION OF THE UNION OF THE AMERICAN STATES 952
             (Charles C. Tansill ed., 1927).
                 20
                    This court’s administrative injunction, entered November 11,
             2021, will be dissolved in 14 days, reflecting the amount of time the
             former President’s counsel requested to file a petition for a writ of
             certiorari and an accompanying motion for an injunction pending
             review with the Supreme Court. See Oral Arg. Tr. 152:21–23. But
             if such a motion is filed, the administrative injunction will dissolve
             upon the Supreme Court’s disposition of that motion.
